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Annual Report 2013
Citizenship and Immigration Services
Ombudsman

June 27, 2013
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Citizenship and Immigration Services
Ombudsman

June 27, 2013




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Citizenship and Immigration Services Ombudsman                                                  i
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                                                                                        Office of the Citizenship and Immigration Services
                                                                                        Ombudsman
                                                                                        U.S. Department of Homeland Security
                                                                                        Mail Stop 0180
                                                                                        Washington, DC 20528­0180



                                                                               ..   i   Homeland
                                                                                        Security
             June 27, 2013

             The Honorable Patrick Leahy                The Honorable Bob Goodlatte
             Chairman                                   Chairman
             Committee on the Judiciary                 Committee on the Judiciary
             United States Senate                       United States House of Representatives
             Washington, DC 20510                       Washington, DC 20515


             The Honorable Chuck Grassley               The Honorable John Conyers, Jr.
             Ranking Member                             Ranking Member
             Committee on the Judiciary                 Committee on the Judiciary
             United States Senate                       United States House of Representatives
             Washington, DC 20510                       Washington, DC 20515


             Dear Chairmen and Ranking Members:

             The Office of the Citizenship and Immigration Services Ombudsman is pleased to submit, pursuant to section
             452(c) of the Homeland Security Act of 2002, its 2013 Annual Report.

             I am available to provide additional information upon request.

             Sincerely,



             Maria M. Odom
             Citizenship and Immigration Services Ombudsman




                                                                                                  www.dhs.gov/cisombudsman




Citizenship and Immigration Services Ombudsman                                                                                               iii
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A Message from the Ombudsman
                                     It is an honor to present to you the Citizenship and Immigration Services Ombudsman’s
                                     2013 Annual Report. This Report describes the work of the Ombudsman, including the
                                     key issues and areas of study we have addressed over the year.

                                     As we ﬁnalize this Annual Report, we are closely following bipartisan comprehensive
                                     immigration reform — the ﬁrst such legislation that Congress has considered in many
                                     years. If enacted, many individuals currently residing in the United States or waiting in
                                     long visa backlogs abroad will be able to submit applications for immigration beneﬁts
                                     to U.S. Citizenship and Immigration Services (USCIS). The challenge for USCIS will be
                                     signiﬁcant, and the Ombudsman’s Ofﬁce stands ready to support implementation by
                                     assisting individuals and employers who encounter problems during that process.

During this past year, USCIS implemented the Deferred Action for Childhood Arrivals (DACA) program. DACA illustrates
the agency’s ability to develop quickly and successfully a new application and an adjudicatory process accompanied by wide-
reaching outreach and education. The agency is to be commended for its effective operational response, public engagement,
and interagency work to achieve a common understanding of DACA-related policy and procedures. This type
of rapid and comprehensive response will be essential to successful implementation of immigration reform.

At this moment in our nation’s immigration history, we recognize the 10-year anniversary of the Ofﬁce of the Citizenship
and Immigration Services Ombudsman. We measure our success, in great part, by the trust placed in us by thousands of
individuals and employers who have sought to resolve long delayed or complex cases pending before USCIS. Whether
assisting a member of the military seeking relief for a spouse; an immigrant entrepreneur applying to start a new business
in this country; a refugee awaiting processing in a dangerous overseas camp; or a long-term permanent resident applying
to naturalize, the Ombudsman’s Ofﬁce plays a vital role helping to ensure our government delivers immigration services
commensurate with our heritage as a nation of immigrants.




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Good government is grounded in a steadfast commitment to efﬁciency, transparency, and accountability. But sometimes,
despite dedicated efforts, government fails to deliver its best, leaving the public to suffer hardship that requires the
involvement of a neutral third party. As an ofﬁce of last resort, the Citizenship and Immigration Services Ombudsman plays
that role, working arduously to ensure that individuals applying for an immigration beneﬁt can experience government at
its best. We are problem solvers, focused on assisting one case at a time and delivering policy recommendations throughout
the year to improve efﬁciency and fairness in the administration of immigration beneﬁts. Our success is directly related to
working as an ally with our partner agency, USCIS, to deliver high-quality service.

It is through meaningful collaboration with Director Alejandro Mayorkas and his team that we have been able to make a
difference for the individuals we serve. I thank Director Mayorkas for his leadership and continued positive engagement
with our ofﬁce. My appreciation also extends to the USCIS ofﬁcers across the country for their expertise and commitment to
delivering exemplary immigration services. I would also like to thank Secretary Janet Napolitano and Congress for supporting
our work. Finally, I would like to thank my team for their quiet, yet incredibly effective, assistance to the individuals and
employers we serve. I often say, “If you want to experience outstanding customer service in government, come visit the
Ombudsman’s Ofﬁce.” We welcome you to engage with us and learn more about our work.

Many of us respond to the call to public service because we believe that in every branch of government we can contribute
meaningfully to our great democracy. Throughout my career, I have had the privilege to touch every sector in the ﬁeld
of immigration: charitable, government, and the private practice of law. Through those experiences I have learned that
protecting the integrity and improving the efﬁciency and quality of the immigration system serves both country and
immigrant alike. I embrace the honor and immense responsibility to serve as the new Citizenship and Immigration
Services Ombudsman.


Sincerely,



Maria M. Odom
Citizenship and Immigration Services Ombudsman




Citizenship and Immigration Services Ombudsman                                                                                  v
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Executive Summary
Executive Summary
                                                               Key Developments and
The Ofﬁce of the Citizenship and Immigration Services
Ombudsman’s 2013 Annual Report contains:                       Areas of Study
• An overview of the Ombudsman’s mission and services;         Humanitarian

• A review of U.S. Citizenship and Immigration Services        Victims of Abuse,Trafﬁcking and Other Crimes. The U.S.
  (USCIS) programmatic and policy achievements during          Department of Homeland Security and USCIS sponsor key
  this reporting period; and                                   initiatives to protect victims of human trafﬁcking, domestic
                                                               violence, and other crimes. In December 2012, USCIS
• A detailed discussion of pervasive and serious problems,     issued policy guidance on employment authorization for
  recommendations, and best practices in the humanitarian,     certain Violence Against Women Act (VAWA) self-petitioners
  family, and employment areas, and in customer service        and their derivatives, as well as U visa beneﬁciaries. While
  and Transformation.                                          stakeholders welcomed this instruction, ongoing concerns
                                                               remain regarding employment authorization for derivative
Ombudsman’s Ofﬁce Overview                                     applicants and limitations on the ability of nonimmigrant
                                                               victims to obtain work authorization.
The Ombudsman’s Ofﬁce, established by the Homeland
Security Act of 2002, helps individuals and employers          Unaccompanied Children. The INA and William
resolve problems with USCIS. Policy and casework is carried    Wilberforce Trafﬁcking Victims Protection Reauthorization
out by a group of professionals with wide-ranging skills       Act of 2008 (TVPRA) provide procedural and substantive
and areas of subject matter expertise. From April 1, 2012,     protection for unaccompanied alien children (UACs).
to March 31, 2013, the Ombudsman received 4,531                Following extensive study, the Ombudsman issued, “Ensuring
requests for assistance. In 74 percent of cases submitted to   a Fair and Effective Asylum Process for Unaccompanied
the Ombudsman, the individuals and employers previously        Children.” USCIS subsequently agreed to accept UAC
visited USCIS My Case Status online, 66 percent contacted      determinations made for custody purposes by U.S. Customs
the USCIS National Customer Service Center telephone line,     and Border Protection and Immigration and Customs
and 30 percent attended InfoPass appointments at a local       Enforcement. This decision will afford a consistent process
ﬁeld ofﬁce. Overall, the requests were divided equally among   to all minors apprehended and placed into custody with the
humanitarian, family and employment-based matters.             Department of Health and Human Services.
This year, the Ombudsman visited communities and               Special Immigrant Juveniles. Abused, abandoned or
stakeholders in every region of the United States. After       neglected children without immigration status may obtain
extensive research and outreach, the Ombudsman issued          permission to remain lawfully in the United States. From
four formal recommendations:                                   2010 to 2011, the Ombudsman received numerous requests
• Improving the Process for Removal of Conditions on           for assistance related to Special Immigrant Juvenile (SIJ)
  Residence for Spouses and Children (February 28, 2013);      cases. Persistent problems include: protracted processing
                                                               times, inadequate interview techniques and adjudications,
• Improving the Adjudication of Applications and Petitions     and burdensome or intrusive Requests for Evidence (RFEs)
  under Section 204(l) of the Immigration and Nationality      relating to juvenile dependency orders. On April 15, 2011,
  Act (INA) (November 26, 2012);                               the Ombudsman published a formal recommendation to
                                                               address these issues. While USCIS adopted some proposed
• Ensuring a Fair and Effective Asylum Process for
                                                               reforms, stakeholders continue to encounter SIJ-related
  Unaccompanied Children (September 20, 2012); and
                                                               difﬁculties. The Ombudsman will continue to work
• Recommendations Regarding USCIS’s Role in the Petition       with USCIS Field Operations staff to resolve remaining
  Information Management Service (PIMS) (May 16, 2012).        stakeholder concerns.




Citizenship and Immigration Services Ombudsman                                                                           vii
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Discretionary Relief and Deferred Action for Childhood          securing information; inefﬁcient processes and inconsistent
Arrivals (DACA). Deferred action is an exercise of              adjudications; a lack of professionalism, sensitivity and
agency discretion to allow an individual to remain in the       awareness of legal requirements, especially concerning
United States without fear of removal. Since 2007, the          waivers, by some USCIS adjudicators; and inadequate
Ombudsman has issued two formal recommendations                 electronic systems to support the processing of Form I-751
identifying ways USCIS can improve transparency and             petitions. To address these difﬁculties, the Ombudsman
consistency for individuals requesting deferred action. This    called upon USCIS to improve processing protocols, update
year, USCIS adopted many of these changes in the context        and consolidate guidance materials and systems, and
of the DACA program. The level of internal and external         conduct comprehensive training. USCIS’s response to the
information-sharing, and institutional willingness to create    recommendation was due May 28, 2013, but has not yet
and monitor the processing of DACA requests, are examples       been received.
of best practices for processing deferred action and other
discretionary applications.                                     Provisional and Other Waivers of Inadmissibility.
                                                                During this reporting period, USCIS began to accept,
Reinstatement of Automatically Revoked Petitions.               through the Phoenix Lockbox, waivers of inadmissibility
USCIS may reinstate certain family-based petitions that were    ﬁled by applicants overseas, and shifted the adjudication of
automatically revoked following the death of a petitioner or    such requests to the Nebraska Service Center. On January 9,
beneﬁciary. Such requests for relief must be submitted by       2012, USCIS announced its plan to adjudicate provisional
surviving immediate relatives. Stakeholders reported lengthy    waivers of unlawful presence for certain immediate
delays in the adjudication of humanitarian reinstatement        relatives living in the United States. On March 4, 2013,
requests and the lack of a standard process for submitting      after publishing proposed and ﬁnal regulations, the agency
or evaluating those requests. In practice, humanitarian         began implementing this initiative. Centralized waiver
reinstatement requests can take months if not years to          ﬁlings and adjudication in the United States, along with
complete, and are frequently denied. The Ombudsman              the Provisional Unlawful Presence Waiver Process, promise
will continue to monitor agency action in this area.            to improve consistency and minimize delays for thousands
                                                                of individuals and their families. Many have urged USCIS
Family and Children                                             to extend provisional waiver coverage to family preference
                                                                categories.
Applications and Petitions for Surviving Relatives.
On October 28, 2009, Congress enacted legislation to
                                                                Employment
protect an expanded list of beneﬁciaries in the family
and employment-based preference categories following            Requests for Evidence. Individuals and employers
the death of a qualifying relative. Fourteen months later,      continued to raise concerns regarding what they consider
USCIS issued a policy memorandum explaining how this            inappropriate or unduly burdensome RFEs. This reporting
new law – INA section 204(l) – should be applied. The           period, USCIS reviewed and posted for public comment
guidance deems previously approved petitions ﬁled on            RFE templates for several nonimmigrant employment-
behalf of covered beneﬁciaries automatically revoked and        based categories, excluding H-1B Specialty Occupations
subject to reinstatement. After evaluating case assistance      and L-1B Intracompany Transferees with Specialized
requests and performing research, the Ombudsman issued,         Knowledge. While the templates offer a valuable mechanism
“Improving the Adjudication of Applications and Petitions       to standardize and improve employment-based case
under Section 204(l) of the Immigration and Nationality Act.”   processing, persistent issues remain. These include USCIS
This recommendation urges USCIS to conduct notice and           not recognizing various modern business practices and
comment rulemaking to create or designate a standard form,      managerial decisions.
establish a receipt protocol, and stop regarding survivor
beneﬁts requests as a form of discretionary reinstatement.      The agency continues to utilize the Validation Instrument for
The Ombudsman is currently evaluating USCIS’s response to       Business Enterprises (VIBE), which aims to reduce the need
this recommendation, which was received on June 3, 2013.        for companies and organizations to submit identical paper
                                                                documentation with each petition to establish their current
Petitions to Remove Conditions on Residence. On                 level of business operations. Some stakeholders ﬁnd that,
February 28, 2013, following almost two years of outreach       contrary to VIBE’s express purpose, they continue to have to
to concerned stakeholders, the Ombudsman published,             submit paper documentation with the initial ﬁling and to
“Improving the Process for Removal of Conditions on Residence   receive RFEs.
for Spouses and Children.” Key problems identiﬁed in this
recommendation include: ineffective notice and barriers to


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In the context of its Entrepreneurs in Residence initiative,    many longstanding stakeholder concerns, including when
which enlists private sector experts to inform immigration      deference will be afforded to prior adjudications and the
policies and procedures, USCIS conducted training and           need for ﬂexibility to accommodate business realities. The
modiﬁed RFE templates for certain nonimmigrant visa             Ombudsman will monitor these key efforts by USCIS to
categories to incorporate new sources of evidence. Both the     address systemic issues affecting the EB-5 program.
California and Vermont Service Centers (CSC and VSC) have
implemented periodic quality assurance review of RFEs and       Petition Information Management System (PIMS).
other adjudicative decisions.                                   On May 16, 2012, the Ombudsman issued a
                                                                recommendation to improve the transfer of employment-
H-1B Special Occupation and L-1 Intracompany                    based immigration petition information by USCIS to
Transferees. In earlier Reports, the Ombudsman described        the Department of State (DOS). When a nonimmigrant
problems related to H-1B Special Occupation and L-1             petitioner (or his/her legal representative) fails to submit
Intracompany Transferee categories. Stakeholders focused        the required duplicate copy of the Form I-129, Petition for
on USCIS policies that appear to subject small and start-up     a Nonimmigrant Worker, package to USCIS, the agency does
companies to inordinate scrutiny. These same concerns were      not forward evidence of action on the petition to the DOS
shared with the Ombudsman this year. For example, some          Kentucky Consular Center. This causes processing delays,
denials in these categories state that the petitioner has not   economic hardship, and other problems for individuals
demonstrated that the company is sufﬁciently developed          and employers. The agency declined to implement two
to require the presence of an executive or manager. Such        of the three actions recommended by the Ombudsman,
denials may overlook regulations that permit “new ofﬁce”        noting that in the future it plans to provide all petition
situations for a limited period of one-year to allow the        information to DOS through the USCIS Electronic
business to become operational.                                 Information System (ELIS).

EB-5 Immigrant Investor Program. From FY 2010 to                USCIS Customer Service
2012, USCIS received nearly 300% more ﬁlings in the
ﬁfth employment-based (EB-5) preference category from           Processing Times. Processing times for Form I-485,
immigrants seeking to invest capital and create jobs for U.S.   Application to Register Permanent Residence or Adjust Status,
workers. This year the Ombudsman received 441 requests          and Form N-400, Application for Naturalization, mirror those
for EB-5 case assistance, representing approximately 10         reported last year, at approximately ﬁve and four and a half
percent of the ofﬁce’s workload. The vast majority of these     months, respectively.
inquiries came from investors and regional center applicants
whose cases had been pending beyond normal processing           Customer Service and Public Engagement. During this
times. Other difﬁculties included a perceived lack of           reporting year, USCIS established the “USCIS Customer
responsiveness by USCIS, the issuance of duplicative RFEs,      Service and Public Engagement Directorate,” which is
and needed guidance regarding processing protocols              divided into two divisions. The Public Engagement Division
and requirements.                                               coordinates and directs dialogue with external stakeholders,
                                                                while the Customer Service Division provides information
On December 3, 2012, USCIS announced publicly the               and guidance to USCIS applicants, petitioners and advocates
transfer of its EB-5 adjudications unit from the CSC to         regarding immigration beneﬁts. USCIS continued robust
Washington, D.C. by mid-2013. Approximately two                 public engagement, hosting over 1,600 public events with
weeks later, on December 20, 2012, USCIS issued a policy        over 520,000 participants.
memorandum addressing tenant occupancy methodologies
and attribution of tenant jobs to EB-5 enterprises for job      Policy Manual. Effective January 22, 2013, USCIS
creation purposes. On February 14, 2013, USCIS posted           announced the creation of a new, comprehensive Policy
a policy memorandum for public comment that appears             Manual designed to adapt easily to changes in immigration
to reverse the agency’s earlier position as to the effect of    law and policy. USCIS has released one chapter of the Policy
a “material change” to a business plan. Just prior to the       Manual, titled “Citizenship and Naturalization.” No speciﬁc
publication of this Report, on May 30, 2013, USCIS issued       timeframe has been established for future releases.
a detailed “EB-5 Adjudications Policy.” This memorandum
emphasizes that preponderance of the evidence is the
standard of proof in EB-5 adjudications, and addresses




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The Administrative Appeals Ofﬁce. The Administrative            topic. Applicants report repeated rejections of fee waiver
Appeals Ofﬁce (AAO) has delegated authority to adjudicate       requests, inconsistent adjudications, and misapplication or
appeals of certain USCIS decisions. In 2005, in an effort to    misunderstanding of proper evidentiary requirements by
increase transparency, the Ombudsman recommended that           USCIS ofﬁcers.
the AAO make available to the public its standard of review;
precedent decision process; criteria by which cases are         Transformation. The USCIS Ofﬁce of Transformation
selected for oral argument; and decision-making statistics.     Coordination oversees the agency’s broad effort to
Since that time, the AAO has eliminated lengthy processing      modernize processes and systems, and move from a paper-
times, but stakeholders continue to raise concerns regarding    based application and adjudication environment to an
the AAO’s authority, independence, and procedures. The          electronic one. Transformation has the potential to improve
AAO is a current area of study for the Ombudsman.               dramatically the experience of those seeking immigration
                                                                beneﬁts and services, but it has been marked by protracted
Fee Waivers. On November 23, 2010, USCIS published              delays in implementation, design defects, and cost overruns.
a ﬁrst-ever fee waiver request form. While use of Form          On May 22, 2012, the agency launched “the foundational
I-912, Request for Fee Waiver, is optional, it simpliﬁes the    release” of its new system, USCIS ELIS. This release enables
process for applicants by specifying eligibility criteria and   individuals seeking immigration beneﬁts and/or their legal
required documentation. However, many low-income                representatives to create an account and ﬁle a stand-alone
applicants continue to encounter barriers to securing a fee     Form I-539, Application to Extend/Change Nonimmigrant
waiver. Since 2012, an increasing number of stakeholders        Status. Additional releases are scheduled for summer 2013.
have sought assistance from the Ombudsman on this




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Ombudsman’s Ofﬁce Overview
The Ombudsman’s1 mission is to:                                                 As of the date of this Report, the Ombudsman’s Ofﬁce
                                                                                is composed of 30 full-time employees with diverse
• Assist individuals and employers in resolving problems
                                                                                backgrounds and areas of subject matter expertise in
  with U.S. Citizenship and Immigration Services (USCIS);
                                                                                immigration law and policy. These individuals include
• Identify areas in which individuals and employers have                        professionals from non-governmental organizations with
  problems in dealing with USCIS; and                                           experience working with family and vulnerable populations;
                                                                                the private sector with business immigration expertise;
• Propose changes in the administrative practices of USCIS                      and federal agencies including, USCIS, U.S. Immigration
  to mitigate identiﬁed problems.2                                              and Customs Enforcement (ICE), U.S. Department of Labor
                                                                                (DOL) and U.S. Department of State (DOS). Over the
Critical to achieving this mandate is the Ombudsman’s
                                                                                reporting period, the ofﬁce has suffered reductions in staff
role as an independent, impartial and conﬁdential resource
                                                                                through attrition and has been unable to make new hires
within the Department of Homeland Security (DHS).
                                                                                due to budget constraints. Additional reductions in staff
• Independent. The Ombudsman reports directly to the                            may be needed in Fiscal Years (FYs) 2014 and 2015. The
  DHS Deputy Secretary, and is not part of USCIS.                               Ombudsman will continue to leverage its investment in
                                                                                online and case management tools, and in human capital,
• Impartial. The Ombudsman works in a neutral, impartial                        to research and resolve the rising number of requests from
  manner to improve the delivery of immigration beneﬁts                         the public and to address policy priorities over the next
  and services.                                                                 ﬁscal year.
• Conﬁdential. Individuals and employers seeking
  assistance from the Ombudsman may do so in conﬁdence.                         Requests for Assistance
  Any release of conﬁdential information must be based
                                                                                Individuals and employers may contact the Ombudsman
  on prior consent, unless otherwise required by law
                                                                                after encountering problems in the processing of their
  or regulation.
                                                                                immigration-related applications and petitions. Requests
The Ombudsman’s duties and responsibilities include:                            for assistance are submitted on the Form DHS-7001, Case
                                                                                Assistance Form, by mail, email, facsimile, or preferably
• Analyzing individual complaints and requests for                              through the Ombudsman’s Online Case Assistance (OCA)
  assistance to identify common themes;                                         system.3 The Ombudsman evaluates each request for
                                                                                assistance and where appropriate works with the relevant
• Performing research, writing formal recommendations,
                                                                                USCIS ofﬁce to resolve the request. In certain scenarios,
  and facilitating interagency collaboration; and
                                                                                the Ombudsman will expedite a case based on an extreme
• Conducting outreach to a wide range of public and                             medical emergency or demonstrated economic hardship.4
  private stakeholders.                                                         Often, when a case request falls outside of the Ombudsman’s
                                                                                jurisdiction, the individual or employer is referred to the
                                                                                relevant government agency. See Figure 1.




1
    In this Report, the term “Ombudsman” refers interchangeably to the Ombudsman’s staff and the office.
2
    Homeland Security Act of 2002 (HSA) § 452, Pub. L. No. 107-296.
3
 Effective October 1, 2012, the Ombudsman replaced its former case management system, Intranet Quorum (IQ) with Case Assistance Analytics and
Data Integration (CAADI), which improves data tracking and reporting functions based on information collected through the Ombudsman Form
DHS-7001, Case Assistance Form; https://cisomb.dhs.gov/oca/form7001.aspx (accessed May 20, 2013).
4
  U.S. Department of Justice (DOJ) Memorandum, “Service Center Guidance for Expedite Requests on Petitions and Applications” (Nov. 30, 2001).
See also USCIS Webpage, “Expedite Criteria;”
http://www.uscis.gov/portal/site/uscis/menuitem.5af9bb95919f35e66f614176543f6d1a/?vgnextoid=16a6b1be1ce85210VgnVCM100000082ca60a
RCRD&vgnextchannel=db029c7755cb9010VgnVCM10000045f3d6a1RCRD (accessed May 20, 2013). Expedite criteria include: severe financial loss
to company or individual; extreme emergent situation; humanitarian situation; cultural and social interest of the United States; national interest; service
error; or compelling interest of the Service.

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FIGURE 1: OMBUDSMAN CASE ASSISTANCE PROCESS

Helping Individuals and Employers Resolve Problems with USCIS
Before asking the Ombudsman for help with an application or petition, try to resolve the issue with USCIS by:
• Obtaining information about the case at USCIS My Case Status at www.uscis.gov.
• Submitting an e-Request with USCIS online at https://egov.uscis.gov/e-Request.
• Contacting the USCIS National Customer Service Center (NCSC) for assistance at 1-800-375-5283.
• Making an InfoPass appointment to speak directly with a USCIS ofﬁcer in a ﬁeld ofﬁce at www.infopass.uscis.gov.
If you are unable to resolve your issue with USCIS, you may request assistance from the Ombudsman. Certain types
of cases involving refugees, asylees, victims of violence, trafﬁcking, and other crimes are required to submit a
handwritten signature for consent purposes. This can be done using Option 1 below and uploading a signed
Form DHS-7001 to the online case assistance request.

  OPTION          Submit an online request for case assistance available on the Ombudsman’s website at
                  www.dhs.gov/cisombudsman. This is the recommended process.

     1
  OPTION          Download a printable case assistance form (Form DHS-7001) from the Ombudsman’s website
                  www.dhs.gov/cisombudsman. Submit a signed case assistance form and supporting documentation by:

     2            Email: cisombudsman@hq.dhs.gov
                  Fax:   202-357-0042
                                                               Mail: Ofﬁce of the Citizenship
                                                                     and Immigration Services Ombudsman
                                                                     U.S. Department of Homeland Security
                                                                     Attention: Case Assistance
                                                                     Mail Stop 0180
                                                                     Washington, D.C. 20528-0180
                  Individuals submitting a request from outside the United States cannot use the online request form
                  and must submit a printable case assistance request form.


After receiving a request for assistance, the Ombudsman:


     1            STEP 1
                  Acknowledges receipt of the inquiry and provides a case submission number to conﬁrm receipt.


                  STEP 2
     2            Reviews the inquiry for completeness, including signatures and a Form G-28, Notice of Entry of Appearance
                  as Attorney or Accredited Representative, if submitted by a legal representative.

                  STEP 3
     3            Determines the current status of the application or petition, reviews relevant laws and policies, and
                  determines how the Ombudsman can help.

                  STEP 4
     4            Contacts USCIS district ofﬁces, service centers, asylum ofﬁces, or other USCIS ofﬁces to help resolve
                  difﬁculties the individual or employer is encountering.


                  STEP 5
     5            Communicates to the customer the actions taken to help.
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The Ombudsman is an ofﬁce of last resort. Individuals                         Individuals and employers indicate prior attempted remedial
and employers are encouraged to explore USCIS’s customer                      actions when submitting requests for case assistance to the
service options prior to contacting the Ombudsman.                            Ombudsman.7 In cases submitted to the Ombudsman, 74
These include: the NCSC (1-800-375-5283); InfoPass;5 and                      percent of the individuals and employers visited USCIS My
the e-Request tool.6                                                          Case Status online; 66 percent contacted the NCSC; and
                                                                              30 percent attended InfoPass appointments at a local ﬁeld
                                                                              ofﬁce. See Figure 2.


FIGURE 2: PRIOR ACTIONS TAKEN




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                      90

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        PERCENTAGE




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                                Visited USCIS My Case              Contacted the NCSC.                Attended InfoPass
                                     Status online.                                                appointment with USCIS
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5
  InfoPass is a free online service that allows individuals to schedule an in-person appointment with a USCIS Immigration Ofﬁcer. InfoPass appointments
may be made by accessing the USCIS website at http://infopass.uscis.gov/.
6
  USCIS Webpage, “e-Request”; https://egov.uscis.gov/e-Request/Intro.do (accessed May 20, 2013).
7
  The Ombudsman’s case assistance form requests the individual or employer identify which USCIS resources were used prior to contacting
the Ombudsman.

3                                                                                                       Annual Report to Congress – June 2013
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In the April 1, 2012 to March 31, 2013 reporting period,                    By integrating OCA and CAADI, the Ombudsman was able
the Ombudsman received 4,531 requests for assistance.8                      to redirect resources previously devoted to the manual intake
Approximately 91 percent of these were received through                     of cases received by mail, fax and email. See Figure 3.
the online system. The combined public-facing OCA and                       Overall, the requests were divided equally among
Case Assistance Analytics and Data Integration (CAADI)                      humanitarian, family and employment-based matters.
programs resulted in far greater operational efﬁciency.                     See Figure 4.




FIGURE 3: CASE SUBMISSION MODE

          April 1, 2011 to March 31, 2012                                                 April 1, 2012 to March 31, 2013
                                     Fax 4%

               Electronic                                                                         Electronic
              Submissions                   Mail 36%                                             Submissions
                  60%                                                                                91%


                                                                                                                                        Mail
                                                                                                                                        8%



                                                                                                                                      Fax 1%




FIGURE 4: CASE SUBMISSION TYPE


                                                                                         CASE TYPE                    TOTAL
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8
  During the 2013 reporting period, the Ombudsman used two different case management systems. For this reason, some data highlighted in this Report
is from October 1, 2012 to March 31, 2013.

Citizenship and Immigration Services Ombudsman                                                                                                    4
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Outreach                                                                                                              and members of underserved communities with emerging
                                                                                                                      immigrant populations. Travel for outreach sharply declined
In-Person Engagements
                                                                                                                      during the second half of the reporting period due to
During this reporting period, the Ombudsman visited                                                                   budget constraints. While the Ombudsman views in-person
communities and stakeholders in every region of the                                                                   engagements as mission critical, it is also committed to
United States. Outreach encompassed USCIS site visits, and                                                            expanding the use of technology and alternative means
meetings with state and local officials, Congressional staff,                                                         to interact with the public and USCIS offices around the
                                                                                                                      country. See Figure 5.


FIGURE 5: OmbUdsman sItE VIsIts




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5                                                                                                                                                                                  Annual Report to Congress – June 2013
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Teleconferences                                                                 • Information and data from USCIS and other agencies.
In an effort to inform stakeholders of new initiatives, and                     During this reporting period, the Ombudsman released the
to invite feedback, the Ombudsman hosted the following                          following recommendations:
teleconferences:
                                                                                • Improving the Process for Removal of Conditions on
• Conditional Permanent Residence: How Is It Working                              Residence for Spouses and Children (February 28, 2013);
  For You? (April 25, 2012)
                                                                                • Improving the Adjudication of Applications and Petitions
• Controlling Documents and Travel for Foreign Nationals:                         under Section 204(l) of the Immigration and Nationality
  A Conversation with Customs and Border Protection (CBP)                         Act (INA) (November 26, 2012);
  and the Citizenship and Immigration Services
  Ombudsman’s Ofﬁce (June 19, 2012)                                             • Ensuring a Fair and Effective Asylum Process for
                                                                                  Unaccompanied Children (September 20, 2012); and
• Special Immigrant Juvenile (SIJ) Status: Overview
  of the Law and Challenges in the Application Process                          • Recommendations Regarding USCIS’s Role in the Petition
  (July 31, 2012)                                                                 Information Management Service (PIMS) (May 16, 2012).

• A Conversation with the CBP Liaison for Non-Government                        The Ombudsman also worked to promote interagency
  Organizations (August 28, 2012)                                               liaison through:
• Meet the New Citizenship and Immigration Services                             • Collaboration with the ICE Ofﬁce of Enforcement and
  Ombudsman Maria M. Odom (October 4, 2012)                                       Removal Operations (ERO) Community Outreach
                                                                                  (formerly known as the Ofﬁce of the Public Advocate);
• The USCIS Administrative Appeals Ofﬁce
  (December 19, 2012)                                                           • Facilitating best practices with the Department of Justice
                                                                                  (DOJ), Ofﬁce of the Special Counsel for Immigration-
• Ombudsman Update: Recent Recommendations and
                                                                                  Related Unfair Employment Practices;
  Ombudsman Online Case Assistance (February 14, 2013)
                                                                                • Regular meetings with the DOS and USCIS aimed at
Through in-person engagements and teleconferences, the                            ensuring the orderly and predictable movement of Visa
Ombudsman reached more than 3,800 stakeholders in every                           Bulletin cut-off dates; and
state and in Puerto Rico.
                                                                                • Formation of a working group involving USCIS, CBP, ICE,
Formal Recommendations and Interagency Liaison                                    and the DHS Ofﬁce of the Chief Information Ofﬁcer
                                                                                  to facilitate problem solving related to data sharing in
The Ombudsman is required to identify areas in which                              programs such as the Systematic Alien Veriﬁcation for
individuals and employers have problems in dealing                                Entitlements (SAVE) Program.10
with USCIS and, to the extent possible, propose changes
in administrative practices to mitigate these problems.                         On March 21, 2013, Secretary of Homeland Security Janet
To date, the Ombudsman has published 56 formal                                  Napolitano announced the creation of the Council for
recommendations.9                                                               Combating Violence Against Women. The Ombudsman will
                                                                                participate in this council and support interagency efforts to
Recommendations are developed based on:
                                                                                identify best practices.
• Trends in individual complaints and requests for
  case assistance;
• Outreach conducted through meetings and
  teleconferences with individuals, community-based
  organizations, trade and industry associations, faith
  communities, and immigration attorneys from across
  the country; and

9
 Last year, the Ombudsman conducted a comprehensive review of all past recommendations. See Ombudsman Webpage, “Comprehensive Recommen­
dation Review”; http://www.dhs.gov/comprehensive-recommendation-review (accessed May 20, 2013).
10
   The SAVE Program is a web-based service that helps federal, state and local benefit-issuing agencies, institutions, and licensing agencies determine the
immigration status of benefit applicants to ensure only those entitled to benefits receive them. See USCIS Webpage, “Systematic Alien Verification for
Entitlements (SAVE) Program” (Nov. 28, 2012);
http://www.uscis.gov/portal/site/uscis/menuitem.eb1d4c2a3e5b9ac89243c6a7543f6d1a/?vgnextoid=1721c2ec0c7c8110VgnVCM1000004718190a
RCRD&vgnextchannel=1721c2ec0c7c8110VgnVCM1000004718190aRCRD (accessed May 20, 2013).
Citizenship and Immigration Services Ombudsman                                                                                                           6
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The Ombudsman’s Annual Conference                                      The Ombudsman’s Annual Report
On October 18, 2012, the Ombudsman hosted its second                   The Ombudsman submits an annual report to Congress by
Annual Conference. Attendees included individuals from                 June 30 of each calendar year, pursuant to section 452(c)
non-governmental organizations, the private sector, and                of the Homeland Security Act. On May 2, 2013, USCIS
federal and state entities. Secretary Napolitano and USCIS             submitted its response to the Ombudsman’s 2012 Annual
Director Alejandro Mayorkas served as keynote speakers.                Report.12 The Ombudsman is currently evaluating USCIS’s
                                                                       response, which was delivered as this Report was going
Panel discussions included topics such as the Military                 to press.
Accessions Vital to the National Interest (MAVNI) Program;
Deferred Action for Childhood Arrivals (DACA); L-1                     Under Homeland Security Act section 452 (c)(1)(E), the
Intracompany Transferee Adjudications; Judicial Review of              Ombudsman is required to “identify any ofﬁcial of the
Immigration Decisions; Security in the Adjudications Process;          Bureau of Citizenship and Immigration Services [now
and Government Accountability, among others.11                         USCIS] who is responsible for … inaction” related to
                                                                       Ombudsman recommendations and pervasive and serious
                                                                       problems encountered by individuals and employers.
                                                                       In the 2014 Report, the Ombudsman will seek to identify
                                                                       such ofﬁcials.




11
   See DHS Blog Posting, “DHS Ombudsman’s Office Holds Second Annual Conference” (Oct. 24, 2012); http://www.dhs.gov/blog/2012/10/24/dhs­
ombudsman%E2%80%99s-office-holds-second-annual-conference (accessed May 20, 2013).
12
  USCIS 2012 Response to the Citizenship and Immigration Services Ombudsman 2012 Annual Report (May 2, 2013);
http://www.uscis.gov/USCIS/Resources/Ombudsman%20Liaison/Responses%20to%20Annual%20Reports/USCIS%20Response%20to%20Ombudsma
n%202012%20Annual%20Report.pdf (accessed Jun. 12, 2013).

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Key Developments and Areas of Study
The Ombudsman’s Report must include a “summary of the most pervasive and serious problems
encountered by individuals and employers.”13 The areas of study presented in this year’s Report
are organized as follows:

• Humanitarian;

• Family and Children;

• Employment; and

• USCIS Customer Service.


13
     Homeland Security Act of 2002 § 452(c)(1)(B).




Citizenship and Immigration
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                                     Ombudsman                                                       8
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Humanitarian
U.S. immigration law offers humanitarian relief for immigrants in the most desperate of
situations. During this reporting period, DHS and USCIS sponsored key initiatives to combat
violence against individuals and ensure protection for victims of human trafﬁcking, domestic
violence, and other crimes. They demonstrated a willingness to exercise discretion on behalf of
individuals seeking deferred action, most notably those brought to the United States as children.
USCIS also took signiﬁcant action in accepting the Ombudsman’s recommendations on ways to
improve the processing of unaccompanied children applying for asylum. Extending this same
commitment in the context of humanitarian reinstatement would provide meaningful relief for
certain surviving immediate relatives.




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Victims of Abuse,Trafﬁcking                                                   On March 7, 2013, President Barack Obama signed the
                                                                              Violence Against Women Reauthorization Act of 2013
and Other Crimes                                                              (VAWA 2013).15 The reauthorization enhances protection
Background                                                                    for individuals seeking T and U nonimmigrant status.
                                                                              VAWA 2013 adds “stalking” as a potential basis for U
The Violence Against Women Act (VAWA), enacted in                             nonimmigrant status; extends age-out protection to
1994, provides vital immigration protections for victims                      unmarried children of U visa petitioners; and strengthens
of trafﬁcking and other violent crimes.14 VAWA beneﬁts                        the International Marriage Broker Regulation Act of 2005
include: (1) VAWA self-petition (domestic violence victims);                  by adding prohibitions and penalties for criminal acts
(2) the T visa (trafﬁcking victims); and (3) the U visa                       involving children.
(victims of speciﬁed crimes). DHS components, including
USCIS, have implemented these protections.




14
   Violent Crime Control and Law Enforcement Act of 1994, Pub. L. No. 103-322; see also Victims of Trafﬁcking and Violence Protection Act of 2000,
Pub. L. No. 106-386, and Trafﬁcking Victims Protection Reauthorization Act of 2003, Pub. L. No. 108-193.
15
   Violence Against Women Reauthorization Act of 2013, Pub. L. No. 113-4.

Citizenship and Immigration Services Ombudsman                                                                                                       10
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The Blue Campaign, launched by Secretary Napolitano in                         Employment Authorization for Certain VAWA
2010, is an example of a DHS-wide effort to coordinate                         Beneﬁciaries and Asylum Applicants. On December 12,
and enhance anti-human trafﬁcking efforts.16 As a part of                      2012, USCIS published a draft policy memorandum titled,
the Campaign, USCIS participated in training sessions for                      “Eligibility for Employment Authorization upon Approval
law enforcement agencies on certiﬁcation for victims of                        of a Violence Against Women Act (VAWA) Self-Petition; and
trafﬁcking or violence.17 USCIS has also collaborated with                     Eligibility for Employment Authorization for Battered Spouses
ICE’s Homeland Security Investigations Victim Assistance                       of Certain Nonimmigrants.” 22 The memorandum provides
Program and Law Enforcement Parole Unit to deliver                             guidance on employment authorization eligibility for
training on trafﬁcking and domestic violence to state and                      battered spouses of certain A, E, G, and H nonimmigrants.23
local police, immigration-focused non-governmental
organizations, and a range of community-based                                  While stakeholders welcomed the much needed policy
organizations.18 In addition, USCIS hosted through the                         guidance, they raised concerns regarding the treatment
Vermont Service Center (VSC) VAWA Unit quarterly public                        of children of self-petitioners. The authorizing statute
outreach events. The Ombudsman actively contributed                            includes the child of the self-petitioner under the deﬁnition
to the Blue Campaign’s working group, providing subject                        of “VAWA self-petitioner,” which stakeholders interpret to
matter expertise and hosting engagements.                                      mean all rights and beneﬁts granted to the self-petitioner
                                                                               extend also to the child.24 Contrary to this reading, the
Ongoing Concerns                                                               USCIS guidance excludes derivative children of a self-
                                                                               petitioner and requires that they request and receive deferred
Processing Times for Humanitarian Applications and                             action before becoming eligible to receive employment
Petitions. The Ombudsman has been monitoring processing                        authorization.25
times for T, U, and VAWA cases. In 2012, USCIS processing
times were seven months for T visa applications and nine                       Additionally, the policy guidance applies a limitation to
months for U visa petitions.19 As of May 2013, USCIS                           nonimmigrants that is not found in the authorizing statute.
processing times were four months for T visa applications,                     The memorandum instructs that employment authorization
while U visa petitions were 15 months.20 As of this Report,                    should be issued for a period of time equal to the remainder
USCIS is processing VAWA petitions ﬁled before March 5,                        of the applicant’s current period of authorized stay.26 This
2012, which means VAWA self-petitioners are waiting up to                      limitation does not appear in INA section 106, which allows
19 months for a decision.21 The Ombudsman is concerned                         the Secretary to authorize the foreign national spouse to
about extended processing times for these vulnerable                           engage in employment in the United States if during the
populations, and will work with USCIS in an effort to                          marriage the nonimmigrant spouse or child was battered
improve this situation. Ombudsman Odom traveled in April                       or had been the subject of extreme cruelty perpetrated by
2013 to the VSC, where these humanitarian petitions are                        the spouse.27 The INA makes no mention of limiting the
adjudicated, to meet with service center leaders and staff                     employment authorization to the duration of the applicant’s
to discuss processing times and other issues.                                  nonimmigrant status. At issue is the ability of an abusive A,
                                                                               E, G, or H nonimmigrant to either terminate the marriage or
                                                                               divest the victim of standing necessary to seek employment.


16
   DHS Webpage, “Fact Sheet: DHS Blue Campaign”; http://www.dhs.gov/fact-sheet-dhs-blue-campaign (accessed May 20, 2013).
17
   Id.
18
   Id.
19
   Ombudsman Annual Report 2012; http://www.dhs.gov/xlibrary/assets/cisomb-2012-annualreport.pdf (accessed May 20, 2013);
20
   USCIS Processing Time Information, “USCIS Processing Time Information for our Vermont Service Center” (Apr. 3, 2013); https://egov.uscis.gov/cris/
processingTimesDisplay.do (accessed May 20, 2013).
21
   Id.
22
   USCIS Draft Policy Memorandum, “Eligibility for Employment Authorization upon approval of a Violence Against Women Act (VAWA) Self-Petition; and
Eligibility for Employment Authorization for Battered Spouses of Certain Nonimmigrants” (Dec. 12, 2012); http://www.uscis.gov/USCIS/Outreach/
Feedback%20Opportunities/Draft%20Memorandum%20for%20Comment/VAWA-Authorized-EADs-PM.pdf (accessed May 20, 2013).
23
   Id. See also INA § 101(a)(15)(A), (E), (G), and (H). An “A” nonimmigrant visa is for a diplomat and foreign government ofﬁcial. An “E”
nonimmigrant visa is for a treaty trader and treaty investor. A “G” nonimmigrant visa is for an employee of a designated international organization, and
NATO. An “H” nonimmigrant visa is for an employee of a specialty occupation in a ﬁeld requiring highly-specialized knowledge.
24
   INA § 101(a)(51) deﬁnes a VAWA self-petitioner to include: the individual ﬁling the petition, or the child of the individual ﬁling the petition, who
qualiﬁes for relief under (A) (iii), (iv), or (vii) of section 204(a)(1)(A); (B)(ii) or (iii).
25
   See supra note 22.
26
   Id. See also INA § 106, and Violence Again Women and Department of Justice Reauthorization Act of 2005 § 844, Pub. Law No. 109-162.
27
   INA § 106(a).

11                                                                                                      Annual Report to Congress – June 2013
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With regard to asylum applicants, on August 26, 2011,                             Stakeholders report that USCIS ofﬁcers, in some cases, issue
the Ombudsman issued a recommendation to improve                                  VAWA applicants RFEs that ask for the type of primary
coordination and communication related to the “asylum                             documentation used to prove a good faith marriage in
clock.”28 Subsequent litigation on this topic resulted in                         non-VAWA cases (e.g., original marriage certiﬁcates, joint
the federal court for the Western District of Washington                          bank account statements, etc.). Such RFEs request evidence
on May 8, 2013, issuing an order preliminarily approving                          of a nature and type that is not required under the relevant
a settlement agreement in A.B.T. et al. v. USCIS, et al.29                        regulations – thereby holding VAWA applicants to a higher
This nationwide class action lawsuit challenged the denial                        standard of proof than is actually required by the applicable
of work authorization to asylum seekers whose asylum                              law. Such requests add additional processing time to already
applications remained pending for a period longer than                            backlogged VAWA adjudications – time during which, in
180 days.                                                                         many circumstances,VAWA applicants are unable to obtain
                                                                                  employment authorization.
The ABT Settlement Agreement changes the method by which
USCIS and the Executive Ofﬁce for Immigration Review                              U Nonimmigrant Derivatives and Age-Out Provisions.
(EOIR) calculate the 180-day waiting period before which                          On December 12, 2012, USCIS published for comment an
an asylum applicant can apply for work authorization.30                           interim policy memorandum titled, “Age-Out Protection for
A Notice to Class Members describes eligible ABT class                            Derivative U Nonimmigrant Status Holders: Pending Petitions,
members, beneﬁts provided, and how to bring a claim                               Initial Approvals, and Extensions of Status.” 34 Pursuant to
under the settlement agreement.31                                                 the original U visa legislation, qualifying crime victims
                                                                                  may request derivative status for certain relatives, such as
Requests for Evidence and VAWA Petitions. Stakeholders                            unmarried sons or daughters who are under 21.35 For
have raised concerns with USCIS Requests for Evidence                             many years, qualiﬁed derivatives who turned 21 during
(RFEs) in VAWA adjudications. VAWA self-petitioners bear                          the processing of their request for U status lost eligibility
the burden of proof to establish eligibility, and USCIS is                        for relief. USCIS’s interim policy memorandum sought to
required to consider “any credible evidence” submitted.32                         address this problem, but has since been rendered moot
This evidentiary requirement recognizes that abusers                              by VAWA 2013, which protects derivatives as long as a U
often deny victims access to important documents in a                             petition was ﬁled on their behalf prior to the individual
deliberate attempt to stop victims from seeking assistance.                       turning 21 years old.36 The Ombudsman urges USCIS to
To ensure that victims are afforded full protection under the                     issue updated guidance and regulations.
law, USCIS adjudicators are speciﬁcally directed to, “give
due consideration to the difﬁculties some [VAWA] self-
petitioners may experience in acquiring documentation,
particularly documentation that cannot be obtained
without the abuser’s knowledge or consent.”33




28
   Ombudsman Recommendation 50, “Employment Authorization for Asylum Applicants” (Aug. 26, 2011); http://www.dhs.gov/ombudsman­
recommendation-employment-authorization-asylum-applicants (accessed May 20, 2013).
29
   A.B.T. et al. v. U.S. Citizenship and Immigration Services, No. 11-02108 (W.D. Wash. ﬁled December 15, 2011).
30
   Settlement Agreement, B.H., et al. v. United States Citizenship and Immigration Services, et al., No. CV11-2108-RAJ (W.D. Wash. 2013); http://
legalactioncenter.org/sites/default/ﬁles/60-1_Settlement%20Agreement.pdf (accessed May 20, 2013).
31
   Class Notice, B.H., et al. v. United States Citizenship and Immigration Services, et al., No. CV11-2108-RAJ (W.D. Wash. 2013); http://legalactioncenter.org/
sites/default/ﬁles/Class%20Notice%20to%20be%20posted%20by%20plaintiffs%205-9-13%20FIN.pdf (accessed May 20, 2013).
32
   Victims of Trafﬁcking and Violence Protection Act of 2000 §§ 1504(a)(2)(D), 1505(b)(7)(B), and 1513(o)(4), P.L. 106-386, see also Violent Crime
Control and Law Enforcement Act of 1994 § 40701(a)(3)(H), P.L. 103-322.
33
   INS Memorandum, “Implementation of Crime Bill Self-Petitioning for Abused or Battered Spouses or Children of U.S. Citizens or Lawful Permanent
Residents” (Apr. 16, 1996).
34
   USCIS Interim Policy Memorandum, “Age-Out Protection for Derivative U Nonimmigrant Status Holders: Pending Petitions, Initial Approvals, and
Extensions of Status” (Oct. 24, 2012); http://www.uscis.gov/USCIS/Outreach/Feedback%20Opportunities/Interim%20Guidance%20for%20Comment/
U-Visa-Age-Out-Interim-PM.pdf (accessed May 20, 2013).
35
   See supra note 16 § 805(a)(7)(A): “CHILDREN- An unmarried alien who seeks to accompany, or follow to join, a parent granted status under section
101(a)(15)(U)(i), and who was under 21 years of age on the date on which such parent petitioned for such status, shall continue to be classiﬁed as a
child for purposes of section 101(a)(15)(U)(ii), if the alien attains 21 years of age after such parent’s petition was ﬁled but while it was pending.”
36
    Violence Against Women Reauthorization Act of 2013, Pub. L. No. 113-4, § 805 (2013).

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Employment Authorization for T Applicants and                                  This procedure, with at times protracted supervisory and
U Petitioners. Stakeholders have expressed concern                             USCIS Asylum Division Headquarters review, has created
regarding the inability of T and U applicants to obtain                        delay and confusion. Rather than facilitating the expedited,
work authorization. The regulations permit USCIS to make                       non-adversarial interviews envisioned by Congress, the
“bona ﬁde determinations” in such case, which may form                         USCIS Asylum Division, as a matter of policy, has not
the basis for employment authorization.37 According to                         accepted the original UAC ﬁnding by the Immigration Judge
stakeholders, USCIS rarely exercises this authority, which                     issued with ICE’s consent or the USCIS Nebraska Service
presents concerns given that processing times for U cases                      Center’s (NSC’s) jurisdictional determination rendered in
have increased to approximately 15 months. This creates a                      advance of accepting Form I-589 (or ICE or CBP’s prior
situation where applicants are unable to support themselves.                   UAC determination). Absent guidance, some USCIS asylum
                                                                               ofﬁces have identiﬁed and developed best practices to
                                                                               address sensitivities and challenges associated with UAC
Unaccompanied Children                                                         claims. In addition to the UAC redeterminations, issues
Background                                                                     include inadequate interviewing methods and approaches
                                                                               for UACs, difﬁculty rescheduling interviews, and a general
The Immigration and Nationality Act (INA) and William                          misunderstanding of the roles and responsibilities of certain
Wilberforce Trafﬁcking Victims Protection Reauthorization                      adults associated with UACs.
Act of 2008 (TVPRA)38 afford procedural and substantive
protections to unaccompanied alien children (UACs).                            Recommendations
By deﬁnition, UACs have no lawful immigration status in
the United States, have not attained 18 years of age, and                      On September 20, 2012, the Ombudsman recommended
have no parent or legal guardian in the United States, or                      that USCIS:
otherwise available to provide care and physical custody.39                    1) Accept jurisdiction of UAC cases referred by the EOIR;
The TVPRA changed signiﬁcantly the asylum process for
UACs by shifting initial consideration of asylum claims ﬁled                   2) Accept jurisdiction of cases ﬁled by children in federal
in removal proceedings from the DOJ EOIR to USCIS.40 The                          custody under the HHS;
legislation further required promulgation of regulations
                                                                               3) Follow established UAC-speciﬁc procedures, expand
“to govern both the procedural and substantive aspects of
                                                                                  implementation of certain best practices, and enlist
adjudicating [UAC] asylum claims.”41
                                                                                  clinical experts for quality assurance and training.
For children apprehended and placed into federal custody                          More speciﬁcally, USCIS should:
and Immigration Court proceedings, the CBP, ICE, EOIR,                                 a) Establish points of contact for the public to
and the Department of Health and Human Services (HHS)                                     improve communication, coordination, and
all have a role in determining and validating UAC status.                                 problem solving;
An individual with UAC status is eligible for certain public                           b) Pre-assign UAC cases to ofﬁcers with specialized
beneﬁts and protections in the United States. In order to                                 knowledge and skills; and
make a UAC determination, the responsible ofﬁce must
                                                                                       c) Contract with clinical experts adept at
interview the child, often discussing potentially traumatic
                                                                                          interviewing vulnerable children as part of
experiences. However, even after these agencies determine
                                                                                          an ongoing quality assurance and training
that the minor is a UAC, and USCIS accepts Form I-589,
                                                                                          component of the UAC asylum program;
Application for Asylum and Withholding of Removal, USCIS had
undertaken the practice of redetermining UAC status                            4) Limit headquarters review to a process that can be
at subsequent asylum interviews with the child.                                   managed within 30 days; and
                                                                               5) Issue as soon as possible regulations regarding the UAC
                                                                                  asylum process.


37
     8 C.F.R. § 214.11(a).
38
     William Wilberforce Trafficking Victims’ Protection Reauthorization Act of 2008 (TVPRA) § 235(d)(8), Pub. L. No. 110-457.
39
  William Wilberforce Trafficking Victims’ Protection Reauthorization Act of 2008 (TVPRA) § 235(d)(8), Pub. L. No. 110-457; see also USCIS Webpage,
“Questions and Answers: USCIS Initiates Procedures for Unaccompanied Children Seeking Asylum” (Mar. 25, 2009);
http://www.uscis.gov/portal/site/uscis/menuitem.5af9bb95919f35e66f614176543f6d1a/?vgnextoid=b3b6040faa930210VgnVCM1000004718190
aRCRD&vgnextchannel=68439c7755cb9010VgnVCM10000045f3d6a1RCRD (accessed May 20, 2013).
40
     INA § 208(b)(3)(C).
41
     See supra note 38.

13                                                                                                     Annual Report to Congress – June 2013
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USCIS Response                                                             Ombudsman outreach in 2010 and 2011 indicated that
                                                                           stakeholders were encountering numerous problems related
On April 11, 2013, USCIS responded to the Ombudsman’s                      to SIJ adjudications, including protracted processing times,
formal recommendations, stating the agency will adopt UAC                  inadequate interviewing techniques and adjudications, and
determinations made for custody purposes by CBP and ICE.42                 burdensome or intrusive RFEs relating to underlying juvenile
This new policy will positively affect all minors apprehended              dependency orders. Stakeholders further experienced
and placed into federal custody with the HHS, helping to                   inconsistent procedures to request expedited review, as
ensure a consistent process for scores of children who seek                well as fee-waiver request denials for cases with prima facie
asylum in the United States. The agency further agreed to                  evidence of juvenile dependency.
follow established UAC procedures, designate points of
contact for the public, implement measures to improve                      Recommendations
the quality and consistency of UAC adjudications, and
limit the amount of time cases may be held under review                    On April 15, 2011, the Ombudsman published a
by headquarters’ staff. USCIS also stated its intent to issue              recommendation titled, “Special Immigrant Juvenile
statutorily mandated regulations regarding the UAC asylum                  Adjudications: An Opportunity for Adoption of Best Practices,”44
process. The agency declined to pre-assign UAC cases to                    which called on USCIS to:
specially-trained ofﬁcers.                                                 1) Standardize its practices of:
                                                                                   a) Providing specialized training for those ofﬁcers
Ongoing Concerns
                                                                                      adjudicating SIJ status;
USCIS has taken concrete steps to address many of the                              b) Establishing dedicated SIJ units or points
Ombudsman’s UAC recommendations. It is important for                                  of contacts at local ofﬁces; and
USCIS to commit to timely implementation of its new policy
                                                                                   c.) Ensuring adjudications are completed within the
with meaningful training and quality control.
                                                                                       statutory timeframe;
                                                                           2) Cease requesting the evidence underlying state court
Special Immigrant Juveniles                                                   determinations of foreign child dependency; and
Background                                                                 3) Issue guidance, including agency regulations, regarding
Abused, abandoned or neglected children without                               adequate evidence for SIJ ﬁlings, including general
immigration status may obtain permission to remain                            criteria for what triggers an interview for the SIJ
lawfully in the United States through the Special Immigrant                   petition, and make this information available on the
Juvenile (SIJ) program.43 During the past two years, the                      USCIS website.
Ombudsman has shared feedback, requests for assistance,
and other concerns regarding the processing of SIJ cases
with USCIS. The agency has demonstrated a willingness to
address ongoing problems and to intervene as appropriate
to resolve pending matters.




42
   USCIS Policy Memorandum, “Updated Procedures for Determination of Initial Jurisdiction over Asylum Applications Filed by Unaccompanied Alien
Children,” (May 28, 2013); “Updated Service Center Operations Procedures for Accepting Forms I-589 Filed by Unaccompanied Alien Children,” (Jun.
4, 2013); http://www.uscis.gov/USCIS/Humanitarian/Refugees%20&%20Asylum/Asylum/Minor%20Children%20Applying%20for%20Asylum%20
By%20Themselves/service-ctr-ops-proced-accepting-form-i589-unaccompanied-alien-children.pdf (accessed Jun. 4, 2013).
43
   INA § 101(a)(27)(J); 8 C.F.R. § 204.11.
44
   Ombudsman Recommendation 47, “Special Immigrant Juvenile Adjudications: An Opportunity for Adoption of Best Practices” (Apr. 15, 2011); http://
www.dhs.gov/xlibrary/assets/Citizenship-and-Immigration-Services-Ombudsman-Recommendation-Special-Immigrant-Juvenile-Adjudications.pdf
(accessed May 20, 2013).
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                                                                               established internal, regional points of contact (POCs) for
                                                                               SIJ cases. These POCs are available to answer questions and
                                                                               provide assistance to USCIS ﬁeld ofﬁce personnel. They
                                                                               also work with USCIS Headquarters to update guidance and
                                                                               monitor expedite requests.

                                                                               USCIS concurred with the recommendation to maintain
                                                                               adjudications within the statutory timeframe.49 Monthly
                                                                               reports of all pending SIJ cases are generated and USCIS
                                                                               regional ofﬁce POCs work with ﬁeld ofﬁces to monitor and
                                                                               complete adjudication-ready cases. Pursuant to the Perez-
                                                                               Olano Settlement Agreement, USCIS has also established a
                                                                               dedicated email account to receive complaints related to
                                                                               timely processing. USCIS stated in December 2012 that they
                                                                               had received no complaints through the account, although
                                                                               at the time of reporting, the email address did not appear
                                                                               available on the USCIS webpage.

                                                                               USCIS noted that it “appreciate[s] that there is a delicate
USCIS Response                                                                 balance between the role of the state juvenile court providing
In 2011, USCIS agreed in part with the recommendations,                        for the best interest of the child and the role of USCIS in
concurring as to the need for standardization, and noting                      ensuring the immigration beneﬁt is granted properly.”50
that the agency “has already provided extensive training                       USCIS further stated that orders lacking speciﬁc ﬁndings
….”45 This training was delivered to 235 agency employees                      may not be sufﬁcient, and may need to be supplemented
and discussed eligibility for SIJ status, potential forms of                   by separate ﬁndings or other relevant evidence to establish
relief, and related processes. It further examined legislative                 the factual basis for the order. USCIS indicated that it would
developments from the Trafﬁcking Victims Protection                            examine ways to communicate with state courts through
Reauthorization Act of 2008, and SIJ litigation, including the                 the DOJ, provide court personnel information regarding
Perez-Olano, et al. v. Holder, et al., Settlement Agreement.46                 SIJ cases, and clarify the type of language USCIS requires in
USCIS indicated it was contemplating future training                           state court decisions. Since the response in 2011 and in this
initiatives, such as a program on child-sensitive interviewing                 reporting period, USCIS has completed several in-person
techniques.                                                                    trainings for state juvenile attorneys and social workers, and
                                                                               stated that it remains committed to continuing this type
USCIS disagreed with the recommendation to establish local                     of outreach.
points of contact, stating that the limited number of SIJ cases
annually (1,484 in FY 2009 and 1,879 in FY 2010) makes                         USCIS concurred with the recommendation to issue new
“speciﬁc SIJ units, or a dedicated SIJ-ofﬁcer within each                      guidance. On September 6, 2011, USCIS issued a Notice
ﬁeld ofﬁce, impractical.”47 USCIS also noted its position                      of Proposed Rulemaking (NPRM) for the SIJ program.51
that properly trained immigration ofﬁcers, with appropriate
supervision, are capable of handling SIJ adjudications.48
Furthermore, USCIS stated that in FY 2010, the agency

45
   USCIS Memorandum, “Response to Recommendation 47, Special Immigrant Juvenile (SIJ) Applications: An Opportunity for Adoption of Best Practices”
p. 2 (Jul. 13, 2011); http://www.uscis.gov/USCIS/Resources/Ombudsman%20Liaison/Responses%20to%20Formal%20Recommendations/cisomb­
2011-response47.pdf (accessed May 20, 2013).
46
   Perez-Olano, et al. v. Holder, et al, CV 05-3604 (C.D. Cal. 2005). See generally USCIS Memorandum, “Implementation of the Special Immigrant Juvenile
Perez-Olano Settlement Agreement” (Apr. 4, 2011); http://www.uscis.gov/USCIS/Laws/Memoranda/2011/April/perez-olano-settlement.pdf (accessed
May 20, 2013). The memorandum addresses how, in light of the class action settlement ﬁled on behalf of SIJs, the agency will handle certain motions,
post statistics and respond to requests to “rely on the original juvenile court order to establish the current statutory requirement of non-viability of
reuniﬁcation with one or both parents due to abuse, neglect, abandonment, or a similar basis found under State law.”
47
   See supra note 45 at p. 4.
48
   Id.
49
   The agency noted in its response that the 180-day requirement does not relate to the adjustment of status application, and does not include the days
between a missed appointment and a rescheduled one, or the days between when USCIS sends an RFE and the date the petitioner responds to an RFE.
See supra note 45 at p. 4.
50
   See supra note 45.
51
   “Special Immigrant Juvenile Petitions,” 76 Fed. Reg. 54978 (Sept. 6, 2011).

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Ongoing Concerns                                                              to SIJ concerns. The Ombudsman was invited to participate
                                                                              in training calls and looks forward to that opportunity in
Over this reporting period, stakeholders periodically
                                                                              2013, when USCIS formalizes these trainings. Additionally,
reported noncompliance by USCIS with the mandatory
                                                                              concerns pertaining to fee waivers are being addressed on
180-day processing time for SIJ petitions, often by a
                                                                              a case-by-case basis with relevant agency intake and service
signiﬁcant margin. Stakeholders encounter persistent
                                                                              center ofﬁcials.
problems with speciﬁc USCIS ﬁeld ofﬁces applying varying
standards of proof, notwithstanding agency efforts to
conduct remedial outreach and training. Frustration                           Discretionary Relief
emerging from such experiences has led some applicants to
propose that SIJ cases be handled by a specialized unit, such                 and Deferred Action
as the VSC VAWA Unit.                                                         for Childhood Arrivals
To date, stakeholders continue to report receiving RFEs                       Background
related to state court orders that clearly explain the
underlying facts and rationale for dependency ﬁndings.                        Deferred action is an exercise of agency discretion to allow
They further indicate that USCIS adjudicators question                        an individual to remain with authorization in the United
declaratory judgments and require additional information                      States without fear of removal.54 It has been used since
related to state court orders, even when such information                     the 1970s to address compelling circumstances involving
is under court seal and can be burdensome to obtain.52                        removable noncitizens.55
Stakeholders report unwarranted delays and Notices of
Intent to Deny (NOID) that are not supported by the facts                     Factors to be considered in evaluating a request for deferred
of their case.53                                                              action include, but are not limited to, the presence of
                                                                              sympathetic or compelling factors related to the applicant’s
     Case Example: A County Judge found that a juvenile                       health, ability to travel, home country conditions, family
     foreign national had been abused, abandoned, or                          ties and length of time in the United States, history of
     neglected by his parents and issued a guardianship order.                employment and/or community service, military service,
     Through counsel, the child ﬁled a Form I-360, Petition                   and overall priority for, as well as the likelihood of,
     for Amerasian, Widow(er) or Special Immigrant, with                      removal.56 Deferred action may be granted and/or extended
     USCIS. Although the petition included the court order                    for any period of time deemed necessary to address the
     from the County Judge, USCIS requested a copy of the                     circumstances presented, and has typically been granted
     court transcripts to evaluate the order. The child’s attorney
     provided copies of the court transcript. While awaiting
     a decision, the attorney contacted the Ombudsman for
     assistance because he believed the request for the court
     transcripts was inappropriate. The Ombudsman contacted
     USCIS and the petition was approved.

The Ombudsman continues to monitor cases from the ﬁeld
and work with USCIS leaders to improve the processing of
SIJ petitions.

Upon receiving similar and ongoing inquiries involving
SIJ cases throughout 2012, the Ombudsman initiated
discussions with leaders in the USCIS Field Operations
Directorate. These ofﬁcials have been instrumental in
resolving and forging more effective communications related



52
   Information provided by stakeholders to the Ombudsman (Aug. 23, 2012).
53
   Information provided by stakeholders to the Ombudsman (Sept. 9, 2011; Dec. 20, 2011; Jan. 9, 2012; Feb. 15, 2012; Feb. 28, 2012).
54
   See generally INA § 103(a) (describing DHS Secretary’s authority to enforce immigration laws).
55
   See generally, Shoba Sivaprasad Wadia, “Sharing Secrets: Examining Deferred Action and Transparency in Immigration Law,” University of New Hampshire
Law Review,Vol. 10, No. 1 (Jul. 2011).
56
   USCIS Memorandum, “Exercising Prosecutorial Discretion” HQOPP 50/4 (Nov. 17, 2000).

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in one-year increments. Once granted deferred action, a               basis to ensure that like cases are decided in a like manner.61
recipient can apply for, upon the showing of economic need,           Over four years later, on July 1, 2011, the Ombudsman
employment authorization for a period commensurate with               released a second recommendation on this topic, again
the grant of deferred action.57                                       urging USCIS to publish information describing deferred
                                                                      action, inventory pending requests at USCIS ﬁeld ofﬁces,
Long-standing agency guidance indicates that a request for            and establish internal processes and procedures to ensure
deferred action should be made to the USCIS ﬁeld ofﬁce                the timely, consistent handling of requests for relief.62
director.58 The request can be submitted in person during
an InfoPass appointment or by mail. A request for deferred            USCIS stated that because deferred action is not an
action does not require payment of any fee but must include:          immigration beneﬁt, but rather a case-speciﬁc (not
                                                                      categorical) exercise of prosecutorial discretion, the
• An explanation in writing as to why the individual
                                                                      publication of processing times is not required.63
  is seeking deferred action as well as supporting
  documentation;
                                                                      Ongoing Concerns
• Any available primary or secondary proof of identity and
  nationality, including a birth certiﬁcate, a passport and/or        Although USCIS previously committed to tracking deferred
  identiﬁcation card, notarized afﬁdavit(s), school or                action requests,64 the agency is currently unable to provide
  medical records, etc.;                                              an inventory of requests and decisions.65 The Ombudsman
                                                                      remains concerned with USCIS’s tracking of deferred action
• A copy of any previously issued visa used by the individual         requests ﬁled at its local ﬁeld ofﬁces.
  to gain admission to the United States and evidence of
  such admission; and                                                 USCIS maintains limited information related to the
                              59                                      processing of deferred action requests. The agency does not
• Two passport style photos.
                                                                      monitor or track RFEs, the frequency or nature of interviews,
Where the individual requesting deferred action is                    or any other qualitative or quantitative aspects of deferred
represented, he or she should also submit a completed Form            action decision-making. As of March 7, 2012, USCIS did
G-28, Notice of Entry as Attorney or Accredited Representative.60     make available to all ﬁeld ofﬁces a Standard Operating
                                                                      Procedure (SOP) for handling deferred action requests.
Recommendations                                                       This internal SOP has not been made available to the
                                                                      public.66 Aside from the SOP, USCIS has offered no updated
On April 6, 2007, the Ombudsman recommended that                      training for ﬁeld, regional or headquarters staff on deferred
USCIS post general information on deferred action, maintain           action in general, or created any additional guidance
statistics on the issuance and denial of deferred action              materials.67 USCIS does not intend to post information on
requests, and designate a headquarters ofﬁcial to review              its public website on how to submit deferred action requests
grants and denials of deferred action requests on a quarterly         to a USCIS district ofﬁce.68




57
   8 C.F.R. § 274a.12(c)(14).
58
   See supra note 56. See also INS, Operations Instructions, O.I. § 103.1(a)(1)(ii) (1975).
59
   Information provided by USCIS to the Ombudsman (Mar. 7, 2012).
60
   Id.
61
   Ombudsman Recommendation 32, “Recommendation from the CIS Ombudsman to the Director, USCIS” (Apr. 6, 2007); http://www.dhs.gov/
xlibrary/assets/CISOmbudsman_RR_32_O_Deferred_Action_04-06-07.pdf (accessed May 20, 2013).
62
   Ombudsman Recommendation 48, “Deferred Action: Recommendations to Improve Transparency and Consistency in the USCIS Process”
(Jul. 11, 2011); http://www.dhs.gov/xlibrary/assets/cisomb-combined-dar.pdf (accessed May 20, 2013).
63
   USCIS Response to Recommendation 48 (Oct. 27, 2011); http://www.uscis.gov/USCIS/Resources/Ombudsman%20Liaison/Responses%20to%20
Formal%20Recommendations/cisomb-2011-response-48.pdf (accessed May 20, 2013).
64
   USCIS Response to Recommendation 48 (Oct. 27, 2011), p. 2; http://www.uscis.gov/USCIS/Resources/Ombudsman%20Liaison/Responses%20to%20
Formal%20Recommendations/cisomb-2011-response-48.pdf (accessed Jun. 19, 2013).
65
   Information provided by USCIS to the Ombudsman (Jun 19, 2013).
66
   Information provided by USCIS to the Ombudsman (Mar. 7, 2012).
67
   Information provided by USCIS to the Ombudsman (Sept. 2012).
68
   See supra note 63.

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Deferred Action for Childhood Arrivals
                                                                              Reinstatement of Automatically
On June 15, 2012, Secretary Napolitano announced a special
form of deferred action — Deferred Action for Childhood
                                                                              Revoked Petitions
Arrivals (DACA) — for certain young people who were                           Background
brought to the United States as children, do not pose a risk                  Certain immediate relatives whose family-based petitions are
to national security or public safety, and meet established                   automatically revoked upon the death of the petitioner may
criteria. In a 60-day timeframe, USCIS made the Secretary’s                   request reinstatement, and USCIS, in its discretion, may grant
policy into an operational plan, effectively implementing                     such a request for humanitarian reasons.72 Stakeholders have
many of the Ombudsman’s past recommendations.                                 raised concerns that humanitarian reinstatement requests are
USCIS launched DACA as a “program” on August 15, 2012,                        considered a low priority by USCIS. There is no standardized
accompanied by robust community engagement and well-                          method for submitting these requests. Once received,
crafted instructions for prospective ﬁlers.69 USCIS also                      requests are subject to protracted processing times and have
created Form I-821D, Consideration for Deferred Action for                    high rates of denial.73 Starting in November 2012, USCIS
Childhood Arrivals.70 The agency has tracked ﬁling data,                      began tracking humanitarian reinstatement requests. Prior
receipt issuance and decisions, and published results through                 to that, USCIS ofﬁces were not maintaining statistical records
its website.71 The agency has also demonstrated through this                  for these requests. See Figure 6.
program a commitment to training staff on how to render
discretionary decisions. This level of internal and external
information sharing and willingness to create and monitor
ﬁling receipts, processing protocols and timeframes is an
example of best practices for administering deferred action
and other forms of lawful discretionary requests submitted
to USCIS every year.


FIGURE 6: HUMANITARIAN REINSTATEMENT REQUESTS

                                                    (November 2012 to May 2013)
 OFFICE                                                       RECEIPTS                          DENIED                         APPROVED
 &DOLIRUQLD6HUYLFH&HQWHU                                                                                            

 1DWLRQDO%HQHÀWV&HQWHU                                                                                                      

 9HUPRQW6HUYLFH&HQWHU                                                                                                       

 Total                                                           3,104                            1,101                             142


6RXUFH,QIRUPDWLRQSURYLGHGE\86&,6WRWKH2PEXGVPDQ 0D\ 




69
   USCIS Webpage, “Consideration of Deferred Action for Childhood Arrivals Process” (Jan. 18, 2013);
http://www.uscis.gov/portal/site/uscis/menuitem.eb1d4c2a3e5b9ac89243c6a7543f6d1a/?vgnextoid=f2ef2f19470f7310VgnVCM100000082ca60aR
CRD&vgnextchannel=f2ef2f19470f7310VgnVCM100000082ca60aRCRD (accessed May 20, 2013).
70
  In implementing DACA, USCIS created and released a dedicated deferred action request form, which also requires individuals seeking relief to
simultaneously submit the Form I-765, Application for Employment Authorization, with a fee of $380.00 plus a fee of $85 for biometrics capture.
71
   USCIS Webpage, “Data on Individual Applications and Petitions”;
http://www.uscis.gov/portal/site/uscis/menuitem.eb1d4c2a3e5b9ac89243c6a7543f6d1a/?vgnextoid=1b52d725f5501310VgnVCM100000082ca60
aRCRD&vgnextchannel=1b52d725f5501310VgnVCM100000082ca60aRCRD (accessed May 20, 0213).
72
     8 C.F.R. § 205.1(a)(3)(i)(C).
73
  See Ombudsman Teleconference, “Immigration Survivor Benefits under INA §204(l): A Conversation with USCIS” (Jul. 27, 2011);
http://www.dhs.gov/telecon-recap-survivor-benefits-under-ina-%C2%A7204l-conversation-uscis (accessed May 20, 2013).
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                                                                                 Adjust Status. This limited reinstatement possibility is
                                                                                                 76

                                                                                 the only means by which surviving relatives, who are not
                                                                                 covered by INA section 204(l) or who were not married to a
                                                                                 U.S. citizen, may continue to seek immigration beneﬁts after
                                                                                 the death of the petitioning relative.77

                                                                                 Reinstatement cannot be requested until after USCIS’s
                                                                                 approval of Form I-130, Petition for Alien Relative. Such
                                                                                 requests must be accompanied by Form I-864, Afﬁdavit
                                                                                 of Support under Section 213A of the Act, from a substitute
                                                                                 sponsor, including documents evidencing favorable
                                                                                 discretionary factors. The Adjudicator’s Field Manual (AFM)
                                                                                 Ch. 21.2(h)(1)(C) states that the discretionary authority to
                                                                                 reinstate a revoked petition should be applied in light of the
                                                                                 following factors:
                                                                                 1) The impact of revocation on the family unit in the United
                                                                                    States, especially on U.S. citizen or Legal Permanent
                                                                                    Resident (LPR) relatives or other relatives living lawfully
                                                                                    in the United States;
The automatic revocation regulation applies to previously
approved petitions or self-petitions ﬁled under INA section                      2) The beneﬁciary’s advanced age or poor health;
204 upon the death of a petitioner, unless:
                                                                                 3) The beneﬁciary’s having resided in the United States
1) The petition is deemed under 8 C.F.R. section                                    lawfully for a lengthy period;
   204.2(i)(1)(iv) to have been approved as a Form
                                                                                 4) The beneﬁciary’s ties to his or her home country; and
   I-360, Petition for Amerasian, Widow(er) or Special
   Immigrant, under 8 C.F.R. section 204.2(b); or                                5) Signiﬁcant delay in processing the case after approval of
                                                                                    the petition and after a visa number has become available,
2) USCIS determines, as a matter of discretion exercised
                                                                                    if the delay is reasonably attributable to the government,
   for humanitarian reasons in light of the facts of a
                                                                                    rather than the individual.78
   particular case, that it is inappropriate to revoke the
   approval of the petition.74                                                   USCIS has published general guidance regarding how to
                                                                                 request humanitarian reinstatement. The AFM at Ch. 21.2(h)
The burden of requesting humanitarian reinstatement rests
                                                                                 (1)(C) states:
with the principal beneﬁciary of the petition.75 Requests are
typically submitted by letter to the district ofﬁce an service                         [T]o request humanitarian reinstatement of a
center director who originally approved the petition or to                             revoked petition, the beneﬁciary should send a
the USCIS ofﬁce responsible for adjudicating any related                               written request for reinstatement to the USCIS
Form I-485, Application to Register Permanent Residence or                             service center or ﬁeld ofﬁce that approved the

74
   8 C.F.R. § 205.1 (a)(3)(i)(C)(2). Also, as will be discussed in greater detail in the Family and Children section, at page 22 of this Report, the plain
language of §204(l) obviates the need for covered beneficiaries to seek humanitarian reinstatement because it preserves petitions “immediately prior to
the death” of the qualifying relative.
75
   The principal beneficiary requesting humanitarian reinstatement must further establish that a person related to him or her in one of the ways
described in INA § 213A(f)(5)(B) is willing and able to file an affidavit of support under 8 C.F.R. § 213a as a substitute sponsor, in addition to
establishing humanitarian factors described in the Adjudicator’s Field Manual (AFM) Ch. 21.2(h)(1)(C);
http://www.uscis.gov/ilink/docView/AFM/HTML/AFM/0-0-0-1/0-0-0-3481/0-0-0-3513.html#0-0-0-387 (accessed May 20, 2013).
76
   AFM Ch. 21.2(h)(1)(C); http://www.uscis.gov/ilink/docView/AFM/HTML/AFM/0-0-0-1/0-0-0-3481/0-0-0-3513.html#0-0-0-387 (accessed
May 20, 2013).
77
   See generally Ombudsman Recommendation 55, “Improving the Adjudication of Applications and Petitions Under Section 204(l) of the Immigration
and Nationality Act” (Nov. 26, 2012); http://www.dhs.gov/sites/default/files/publications/cisomb­
improving-adjudication-under-ina-204l-11262012.pdf (accessed May 20, 2013). Individuals seeking survivor benefits under INA §204(l) must have
resided in the United States at the time of the qualifying relative’s death, and at the time the immigration survivor benefit application is filed. If unable
to demonstrate such residence, survivors must seek humanitarian reinstatement under 8 C.F.R. § 205.1(a)(3)(iii)(C)(2). Stakeholders report that many
applicants covered by INA §204(l) are nonetheless required by USCIS to establish their eligibility for humanitarian reinstatement under 8 C.F.R. §
205.1(a)(3)(iii)(C)(2). The widows and widowers of U.S. citizens are allowed to continue seeking immigration benefits after the death of the
petitioner under separate provisions of INA § 201(b)(2)(A)(i).
78
     See supra note 71.

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        petition except that, if the beneﬁciary
                                                                                    Case Example: Survivors and beneﬁciaries of a family
        has properly ﬁled an application for
                                                                                    petition ﬁled a request for reinstatement with: evidence of
        adjustment with USCIS, the written request should
                                                                                    favorable humanitarian factors; an Afﬁdavit of Support from
        be submitted to the USCIS ofﬁce with jurisdiction
                                                                                    a substitute relative; the relevant death certiﬁcate; and a
        over the adjustment application. The written
                                                                                    descriptive brief. On January 10, 2012, the family received
        request must include a copy of the approval
                                                                                    an acknowledgment letter from USCIS stating, “[O]ur ofﬁce
        notice for the revoked petition, the death certiﬁcate
                                                                                    processes this case type as our resources and priorities allow.
        of the petitioner (or other qualifying relative
                                                                                    We do not have an estimated timeframe for how long it
        and, if required by section 213A of the Act and
                                                                                    may take to review your request.” Subsequently, the family
        8 CFR part 213a, a Form I-864 from a
                                                                                    submitted several follow-up requests, but USCIS did not
        substitute sponsor and proof of the substitute
                                                                                    take any further action on their request. The survivor was
        sponsor’s relationship to the beneﬁciary.79
                                                                                    scheduled for a January 2013 removal hearing before the
USCIS has acknowledged that such requests often bounce                              Immigration Court. Because reinstatement would provide
back and forth between district and service centers due to                          a basis for terminating proceedings before the Immigration
confusion regarding jurisdiction.                                                   Court, the family urgently needed a response from USCIS.
                                                                                    The Ombudsman made repeated inquiries to USCIS, and
Ongoing Concerns                                                                    the agency responded in December 2012, stating that it
                                                                                    would issue a request for evidence to the survivor, but it did
Stakeholders report that, in practice, factors considered in                        not adjudicate the request by the January 2013 hearing date.
reinstatement decisions appear to vary depending on where
requests are adjudicated.80
                                                                                Conclusion
USCIS local ofﬁces and stakeholders report that, because
reinstatement requests are treated differently from standard                    During this reporting period, USCIS has dedicated signiﬁcant
ﬁlings with established receipt and processing protocols,                       resources to humanitarian programs. USCIS, in partnership
they are difﬁcult to track. USCIS operations for almost                         with other DHS components, has worked to increase
all applications are organized by receipting centers called                     public awareness of trafﬁcking and domestic violence, and
“lockboxes,” where forms are processed and data is entered                      the immigration relief available to these victims. USCIS
in a case management and tracking system.81 However,                            made meaningful strides to clarify policy guidance for
humanitarian reinstatement requests are not processed                           some programs including UAC’s. Other options, such as
through the lockbox system.82                                                   humanitarian reinstatement and deferred action, remain in
                                                                                need of attention and more uniform procedures.
Although USCIS has made meaningful progress in tracking
humanitarian reinstatement requests, there remains in some,
stakeholders who ﬁle requests report that they are given little
information regarding the review and processing of their
cases. There are no posted processing times or predictable
procedures for submitting supplementary information.83
79
     See supra note 71.
80
  One USCIS service center provides that requests should include documentation to identify and document the humanitarian reason for reinstatement.
Documentation may include: (1) Evidence of long-time residence and any equity in the United States; (2) Evidence of relationship to other family
members with evidence of their immigration status in the United States; (3) Evidence of health-related factors that would establish the need for
reinstatement; or (4) Evidence of current political or religious conditions in the beneficiary’s country of origin that would indicate that the beneficiary
would suffer if not permitted to immigrate to the United States. This USCIS service center also requires evidence about the deceased petitioner’s
immigrant intent if the death occurred outside the United States. USCIS Vermont Service Center, “VSC Stakeholders Meeting Questions” (Aug. 20,
2009). One USCIS district office would not state particular criteria in response to a stakeholder question, and informed stakeholders that it was difficult
to articulate the exact favorable and negative factors for reinstatement criteria because each case varies. Stakeholders were advised that the reinstatement
decision is solely within the agency’s discretion. USCIS Chicago District Office, “Midyear Stakeholders’ Meeting” (Apr. 6, 2009).
81
   USCIS lockboxes are receipting centers for USCIS applications that handle fees and route applications. They are run by contractor personnel and have a
limited number of USCIS personnel attached to them to make decisions on fee waivers and other issues. The USCIS lockboxes are currently located in
Phoenix, AZ and Chicago, IL.
82
  AFM, Ch. 21.2(h)(1)(C) (2013); http://www.uscis.gov/ilink/docView/AFM/HTML/AFM/0-0-0-1/0-0-0-3481/0-0-0-3513.html#0-0-0-387
(accessed May 20, 2013).
83
   Ombudsman staff compiled notes during a USCIS Stakeholder Engagement, including a public Question and Answer session. See generally USCIS
Webpage, “Approval of Petitions and Applications after the Death of a Qualifying Relative” (Feb. 7, 2013);
http://www.uscis.gov/portal/site/uscis/menuitem.5af9bb95919f35e66f614176543f6d1a/?vgnextoid=33189acaf228c310VgnVCM100000082ca60a
RCRD&vgnextchannel=994f81c52aa38210VgnVCM100000082ca60aRCRD (accessed May 20, 2013).
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Family and Children
As set forth in two far-reaching recommendations issued by the Ombudsman this reporting
year, USCIS has the opportunity to improve its processing of applications and petitions ﬁled
by surviving relatives, as well as spouses and children seeking to remove the conditions placed
upon their permanent residence. Also, the agency implemented the Provisional Unlawful
Presence Waiver Program, which will greatly reduce periods of family separation, and in a
manner consistent with the Ombudsman’s June 2010 recommendations announced centralized
processing of certain waivers of inadmissibility.




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Applications and Petitions                                                    • Any derivative beneﬁciary of a pending or approved
                                                                                employment-based visa petition;
for Surviving Relatives                                                       • Beneﬁciaries of a pending or approved refugee/asylee
Background                                                                      relative petition;
On October 28, 2009, Congress enacted INA section                             • Individuals admitted as derivative “T” or “U”
204(l) to protect certain family and employment-based                           nonimmigrants; and
beneﬁciaries following the death of a qualifying relative.84
                                                                              • Derivative asylees.
INA section 204(l) protects:
                                                                              Prior to the enactment of section 204(l), only widow and
• Beneﬁciaries of a pending or approved immediate relative                    widowers of U.S. citizens could continue to seek immigration
  visa petition;                                                              beneﬁts after the death of the qualifying relative.85
• Beneﬁciaries of a pending or approved family-based visa
                                                                              On December 16, 2010 – approximately 14 months after
  petition, including both the principal beneﬁciary and any
                                                                              INA section 204(l) became law – USCIS issued a policy
  derivative beneﬁciaries;
                                                                              memorandum titled, “Approval of Petitions and Applications
                                                                              after the Death of the Qualifying Relative under new

84
   The DHS Appropriations Act of 2010, Pub. L. No. 111-83, created INA § 204(l) and added a new list of surviving relatives who may continue to seek
immigration beneﬁts after the death of a qualifying relative. See Pub. L. No. 111-83,Title V, § 568(d).
85
   The pre-existing legal provision which provided relief to widows and widowers of U.S. citizens at INA § 201(b)(2)(A)(i) was revised in
section 568(c)(1) of the DHS Appropriations Act of 2010 by deleting language requiring the beneﬁciary to have been married to the U.S. citizen
for two years at the time of the citizen’s death.

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                                                                86
Section 204(l) of the Immigration and Nationality Act.”                    Recommendations
The guidance appears to undermine the purpose and plain
                                                                           On November 26, 2012, the Ombudsman recommended
language of section 204(l) by deeming previously approved
                                                                           that USCIS:
petitions ﬁled on behalf of covered beneﬁciaries automatically
revoked and subject to reinstatement under 8 C.F.R. section                1) Conduct notice-and-comment rule making to create or
205.1(a)(3)(iii)(C)(2).                                                       designate a standard form, establish a receipt protocol
                                                                              and describe an adjudication process consistent with the
Congress enacted INA section 204(l) on October 28, 2009,                      plain language of INA section 204(l);
to allow additional classes of surviving relatives to continue
to seek immigration beneﬁts. The automatic revocation of                   2) Train USCIS staff to interpret and apply properly INA
family-based petitions upon death of the petitioning relative                 section 204(l) and stop regarding survivor beneﬁt
was established by USCIS regulation, 8 C.F.R. section 205.1(a)                requests as a form of discretionary reinstatement;
(3)(C). The only remedy for automatic revocation is a                      3) Publish instructions for applicants and petitioners as to
discretionary humanitarian reinstatement that a family-based                  the nature and extent of INA section 204(l)’s coverage
beneﬁciary may request under 8 C.F.R. section 205.1(a)(3)                     and related beneﬁt request processes; and
(C)(2). These regulations pre-dated the enactment of INA
section 204(l).                                                            4) Track and monitor the processing of survivor
                                                                              beneﬁt requests.
Following the enactment of the legislation and the
implementation of the USCIS policy memorandum,                             USCIS Response
stakeholders report local and regional USCIS ofﬁces do                     Following the issuance of the Ombudsman’s recommendation,
not seem to understand INA section 204(l). Other cases                     USCIS held two public engagements related to survivor
suggest that some USCIS ofﬁcers are either unaware of or                   beneﬁts. The ﬁrst took place on February 7, 2013, and was
disinclined to follow the agency’s December 16, 2010                       titled, “Approval of Petitions and Applications after the Death of a
policy memorandum.                                                         Qualifying Relative.” 87 Agency representatives discussed INA
                                                                           section 204(l), self-petitions ﬁled by widows/widowers of U.S.
      Case Example: An individual ﬁled Form I-485, Application
                                                                           citizens and the reinstatement regulation.88 They limited their
      to Register Permanent Residence or Adjust Status, with
                                                                           comments to family-based applicants who may be eligible
      evidence of a pending family-based petition on which she
                                                                           for relief under section 204(l). In doing so, they did not
      was a derivative. She provided evidence of coverage under
                                                                           reference or otherwise discuss the December 16, 2010 policy
      section 204(l) and provided a copy of the USCIS policy
                                                                           memorandum, which is the sole administrative guidance on
      memorandum. At the adjustment interview, the USCIS
                                                                           this topic. USCIS did describe the agency’s application of the
      immigration services ofﬁcer advised the individual that the
                                                                           reinstatement process for INA section 204(l) beneﬁciaries.The
      application would be denied and incorrectly instructed that
                                                                           speakers maintained that USCIS’s authority with respect to INA
      she should ﬁle a Motion to Reopen with the USCIS service
                                                                           section 204(l) cases is entirely discretionary.
      center. The adjustment application was denied without
      mention of section 204(l), merely stating that since the             Starting in November 2012, USCIS added an action code to
      petitioner had died the petition was terminated. The case            its data system to account for 204(l) reinstatement requests.
      was submitted to the Ombudsman for case assistance and               The code does not distinguish between a reinstatement
      proper application of section 204(l).                                request made under INA section 204(l) versus humanitarian
                                                                           reinstatement per 8 C.F.R. section 205.1(a)(3)(i)(C).

                                                                           The Ombudsman’s recommendation noted that the USCIS
                                                                           interpretation affords the revocation and reinstatement
                                                                           regulation greater weight than the subsequently enacted
                                                                           statute.89
86
  USCIS Memorandum, “Approval of Petitions and Applications after the Death of the Qualifying Relative under New Section 204(l) of the Immigration
and Nationality Act” (Dec. 16, 2010); http://www.uscis.gov/USCIS/Laws/Memoranda/2011/January/Death-of-Qualifying-Relative.pdf (accessed May
20, 2013).
87
   USCIS Webpage, “Approval of Petitions and Applications after the Death of a Qualifying Relative” (Feb. 7, 2013);
http://www.uscis.gov/portal/site/uscis/menuitem.5af9bb95919f35e66f614176543f6d1a/?vgnextoid=33189acaf228c310VgnVCM100000082ca60a
RCRD&vgnextchannel=994f81c52aa38210VgnVCM100000082ca60aRCRD (accessed May 20, 2013).
88
     Id.
89
   Ombudsman Recommendation 55, “Improving the Adjudication of Applications and Petitions Under Section 204(l) of the Immigration and National­
ity Act” (Nov. 26, 2012); http://www.dhs.gov/sites/default/files/publications/cisomb-improving-adjudication-under-ina-204l-11262012.pdf
(accessed May 20, 2013).
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During a second public engagement on February 26, 2013,                     improving USCIS’s processing of Form I-751, Petition to
titled, “Provisional Unlawful Presence Waiver Process,” USCIS               Remove Conditions on Residence.94 Key problems identiﬁed in
staff reviewed this new waiver program for immediate                        the recommendation include: ineffective notice and barriers
relatives. In the context of section 204(l), eligibility for a              to securing information, including proof of status; inefﬁcient
provisional waiver may be established through a deceased                    processes and inconsistent adjudications; a lack of sensitivity
but previously qualifying relative.90 However, USCIS                        and awareness of legal requirements (especially concerning
speakers indicated that eligible applicants must have a                     waivers) by some USCIS adjudicators; and inadequate
living, qualifying relative.91 This representation is at odds               electronic systems in use to support the processing of Form
with the statute, as well as USCIS’s December 16, 2010                      I-751 petitions.
policy memorandum, which correctly states that waivers
of inadmissibility may be granted even if the qualifying                    Since the passage of INA section 216, the former
relationship that would have supported the waiver ended                     Immigration and Naturalization Service (INS) and USCIS
through death.92                                                            have issued more than a dozen guidance documents related
                                                                            to this case type. Only two appear on the agency’s public
USCIS responded to the Ombudsman’s recommendations                          website under the topic of “Conditional Residence.”95
on June 3, 2013.93 The Ombudsman is unable to fully                         The AFM lacks comprehensive, up-to-date information
review in this Report USCIS’s response which was due                        on policies and procedures associated with Form I-751
February 26, 2013.                                                          adjudications. Petitioners and their representatives ﬁnd
                                                                            it difﬁcult to discern which I-751 guidance remains in
Ongoing Concerns                                                            effect and how to ensure its proper application. USCIS
                                                                            adjudicators, in turn, face considerable challenges
Stakeholders continue to report the misapplication of                       understanding and applying the universe of I-751 policies
INA section 204(l) at local and regional USCIS ofﬁces. As                   and procedures. When such guidance is misapplied, spouses
stated earlier, USCIS staff, in accordance with the agency’s                and children seeking immigration beneﬁts and services may
December 16, 2010 policy memorandum, subject previously                     encounter a range of undue burdens, including placement
approved petitions under section 204(l) to automatic                        into removal proceedings.
revocation. Thus, they require survivors to undergo the
long and difﬁcult process of requesting humanitarian                            Case Example: The Ombudsman received a request for
reinstatement. USCIS’s stated position with regards to                          assistance from an individual in removal proceedings
approved petitions undermines the plain language of INA                         who was seeking proof of status after USCIS denied her
section 204(l).                                                                 jointly-ﬁled Form I-751. She ﬁrst appeared at a district
                                                                                ofﬁce in April 2012 to obtain a temporary I-551 stamp
                                                                                in her passport so she could work, as the law permits,
Petitions to Remove Conditions                                                  while in proceedings. Following her attorney’s advice, she
on Residence                                                                    brought to the InfoPass appointment copies of relevant
                                                                                agency guidance, including the August 6, 1996 INS
Background                                                                      Memorandum.96 The USCIS ofﬁcer refused to issue proof
On February 28, 2013, following almost two years of                             of status despite the guidance. Repeated contact with the
research and outreach to concerned stakeholders, the                            district by the Ombudsman eventually resulted in issuance
Ombudsman published recommendations aimed at                                    of the temporary I-551 stamp in December 2012.


90
     See supra note 84.
91
  Ombudsman Teleconference Recap, “Survivor Benefits under INA § 204(l): A Conversation with USCIS”; http://www.dhs.gov/telecon-recap­
survivor-benefits-under-ina-%C2%A7204l-conversation-uscis (accessed May 20, 2013).
92
     See supra note 84.
93
     USCIS Response to Recommendation 55, (Jun. 3, 2013).
94
  Ombudsman Recommendation 56, “Improving the Process for Removal of Conditions on Residence for Spouses and Children” (Feb. 28, 2013);
http://www.dhs.gov/publication/improving-process-removal-conditions-residence-spouses-and-children (accessed May 20, 2013). In FY 2012, USCIS
received 172,786 Form I-751 petitions. Of those, 132,537 were approved at USCIS service centers, 4,514 were denied at the service centers, and
18,529 were transferred by service centers to local offices for interviews.
95
  USCIS Memorandum, “I-751 Filed Prior to Termination of Marriage” (Apr. 3, 2009) and USCIS Memorandum, “Delegation of Authority to Service
Center Directors to Adjudicate Form I-829, Petition by Entrepreneur to Remove Conditions; Adjudication of Form N-400, Application for Naturalization
when a Form I-829 is Still Pending; AFM Update: Chapter 25.2” (Dec. 21, 2006);
96
  INS Memorandum, “Legal Opinion: Status of a conditional permanent resident after denial of the I-751 during pendency of review by EOIR” (Aug. 6,
1996).
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Recommendations                                                                   the satisfaction of the Secretary that refusal of admission
                                                                                  would result in extreme hardship to a qualifying relative
To address difﬁculties associated with the processing of Form
                                                                                  as a matter of law and in the exercise of discretion.98 Until
I-751 petitions, the Ombudsman recommended that USCIS:
                                                                                  June 4, 2012, waivers of the three- and ten-year bars could
1) Provide timely, effective and accurate notice to                               only be sought by applicants who had left the United States
   petitioner(s) and their attorneys or accredited                                to apply for an immigrant visa at the DOS consulate abroad.
   representatives on I-751 receipt, processing and                               This led to lengthy periods of family separation since waiver
   adjudication requirements and decisions;                                       processing took months, if not years, to complete.99
2) Ensure AFM Chapter 25 is updated, accurate and                                 Many applicants with close family ties in the United States
   complete, or create a superseding source of consolidated                       have been dissuaded from seeking LPR status due to the
   information for I-751 adjudications; and                                       unlawful presence bars. After residing in the United States
                                                                                  for many years, others may have traveled abroad for what
3) Train USCIS staff to apply the updated AFM or
                                                                                  they hoped would be a temporary period, only to have
   superseding guidance with an emphasis on waiver
                                                                                  encountered prolonged adjudication delays, or been denied a
   standards and procedures.
                                                                                  waiver request. While remaining abroad, the applicant’s sole
                                                                                  recourse was to ﬁle an appeal with the USCIS Administrative
USCIS Response
                                                                                  Appeals Ofﬁce (AAO), where, in 2012, processing times for
USCIS’s response to the Ombudsman’s recommendations                               this particular application type were as long as 26 months.100
was due on May 28, 2013.                                                          Even individuals approved for such waivers abroad may
                                                                                  have been forced to endure separation from relatives for six
Ongoing Concerns                                                                  months to one year.101 Under prior waiver procedures, these
                                                                                  applicants had no choice but to travel overseas to complete
Stakeholders, along with USCIS employees in service centers
                                                                                  their application for an immigrant visa.102
and district ofﬁces, have called for remedial action to resolve
the range of problems related to Form I-751 adjudications
                                                                                  Recommendations
discussed in the Ombudsman’s recommendations.
                                                                                  For many years, stakeholders have reported concerns to the
                                                                                  Ombudsman about unpredictable and protracted processing
Provisional and Other Waivers                                                     times and inconsistent adjudication of inadmissibility
of Inadmissibility                                                                waivers, particularly those ﬁled on Form I-601, Application
                                                                                  for Waiver of Grounds of Inadmissibility. As a result, on June
Background                                                                        10, 2010, the Ombudsman recommended that USCIS:
In 1996, Congress enacted what have come to be called the                         1) Centralize Form I-601 processing;
“three- and ten-year bars.”97 An individual seeking a waiver
of either the three- or ten-year bar must demonstrate to                          2) Allow applicants to concurrently ﬁled Form I-601 and
                                                                                     Form I-130, Petition for Alien Relative;
97
  Illegal Immigration Reform and Immigrant Responsibility Act of 1996, Pub. L. No. 104-208. INA § 212 (a)(9)(B)(i)(I) is known commonly as the
three-year bar, referring to the time an individual is barred from returning to the United States. It is triggered by 180 days or more of unlawful
presence and a departure from the United States, followed by seeking readmission. INA § 212(a)(9)(B)(i)(II) is commonly known as the 10-year bar,
which is triggered by one year or more of unlawful presence and a departure from the United States, followed by seeking readmission.
98
     INA § 212(a)(9)(B)(v). A qualifying relative is a U.S. citizen or an LPR spouse or parent of the immigrant seeking a waiver of inadmissibility.
99
  USCIS Webpage, “Transition to Centralized Form I-601 Filing” (May 31, 2012);
http://www.uscis.gov/portal/site/uscis/menuitem.5af9bb95919f35e66f614176543f6d1a/?vgnextoid=6ba6cf1cfaf77310VgnVCM100000082ca60aR
CRD&vgnextchannel=e0b081c52aa38210VgnVCM100000082ca60aRCRD (accessed May 20, 2013). At the time of the Ombudsman 2010 recommen­
dations, average processing time for referred cases (those not readily approvable upon filing) were 10-12 months. See Ombudsman Recommendation
45, “Processing of Waivers of Inadmissibility” (June 10, 2010);
http://testdhsgov.edgesuite.net/xlibrary/assets/cisomb_waivers_of_inadmissibility_recommendation.pdf (accessed Apr. 29, 2013).
100
    USCIS Webpage, “AAO Processing Times” (May 10, 2013);
http://www.uscis.gov/portal/site/uscis/menuitem.5af9bb95919f35e66f614176543f6d1a/?vgnextoid=8ff31eeaf28e6210VgnVCM100000082ca60aR
CRD&vgnextchannel=dfe316685e1e6210VgnVCM100000082ca60aRCRD (accessed May 20, 2013). AAO published processing times are called current
when they take six months from date of receipt at the AAO until date of decision. The time period between receipt of the I-601 appeal at the USCIS
office and receipt at AAO is not recorded in this formula. The I-601 waiver appeals had published processing time of 26 months in March 2012,
although that was reduced to “current” by March 2013.
101
    See also USCIS Webpage, “USCIS to Centralize Filing and Adjudication for Certain Waivers of Inadmissibility in the United States” (May 23, 2012);
http://www.uscis.gov/portal/site/uscis/menuitem.5af9bb95919f35e66f614176543f6d1a/?vgnextchannel=68439c7755cb9010VgnVCM10000045f3
d6a1RCRD&vgnextoid=8e5b8976a0a77310VgnVCM100000082ca60aRCRD (accessed May 20, 2013).
102
      INA § 245(a) and (c).
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3) Prioritize the ﬁnalization of the overseas case                             presence waivers are available to immediate relatives who
   management system, already under development, to                            can demonstrate extreme hardship to a U.S. citizen spouse or
   ensure accurate statistical reporting on Form I-601,                        parent. If any grounds of inadmissibility applies other than
   to allow processing times to be posted, and to enable                       INA section 212(a)(9)(B), the program is not available.
   customers to track a Form I-601 application via the
   “My Case Status” feature on the USCIS website;                              Ongoing Concerns
4) Publish clear instructions for customers seeking                            Many commenting on the proposed regulation have urged
   expedited waiver processing;                                                USCIS to extend provisional waiver coverage to family
                                                                               preference categories.108 Individuals in LPR status with strong
5) Increase coordination between the DOS and USCIS
                                                                               family ties in the United States cannot seek a provisional
   ofﬁcers who work with I-601 waivers; and
                                                                               waiver, and continue to face extended separations related
6) Allow USCIS employees to request digitized A-Files upon                     to processing abroad. USCIS has stated that the agency will
   receipt of interview schedules.103                                          consider expansion of the program after assessing its progress
                                                                               and operational impacts.109
USCIS Response
                                                                               In addition, those offering feedback on the proposed
USCIS concurred and implemented most of the                                    regulation requested that the government reconsider
Ombudsman’s recommendations. This section highlights                           its decision precluding motions to reopen and appeals
these changes, along with new policy initiatives that promise                  of provisional waiver decisions.110 Currently, only the
to improve consistency and minimize delays for applicants                      government may reverse a provisional waiver denial decision
and their families.                                                            by reopening the matter sua sponte. Alternatively, the applicant
                                                                               may ﬁle an entirely new request with an additional fee.111
Centralized U.S. Filing of Overseas Immigrant Waivers.
Effective June 4, 2012, USCIS began accepting through                          USCIS hosted 24 public engagements and provided
its Phoenix Lockbox waivers of inadmissibility ﬁled                            useful educational materials related to the Provisional
by applicants overseas, and shifted the adjudication of                        Unlawful Presence Waiver Process.112 In doing so, the
such requests to the NSC.104 This centralized ﬁling and                        agency successfully distinguished this initiative from the
adjudication in the United States applies to all Forms I-601,                  centralization of overseas waivers in the United States.
as well as I-212, Application for Permission to Reapply for
Admission into the United States After Deportation or Removal,                 Conclusion
including related motions and appeals. USCIS announced
                                                                               The Ombudsman is committed to working with USCIS to
in its May 31, 2012 Public Engagement, “Transition to
                                                                               improve processes that support and promote family unity.
Centralized Form I-601 Filing,” that the agency hoped to
                                                                               Over the next year, the Ombudsman will continue to monitor
adjudicate these waivers within three months of receipt.105
                                                                               USCIS’s handling of cases ﬁled under INA section 204(l).
Provisional Unlawful Presence Waiver Process. On January
                                                                               Centralized waiver ﬁlings and adjudications in the United
9, 2012, USCIS announced its plan to adjudicate provisional
                                                                               States, along with the Provisional Unlawful Presence Waiver
waivers of unlawful presence for certain immediate relatives
                                                                               Process, offer examples of meaningful programs. As such,
living in the United States.106 After publishing proposed
                                                                               both initiatives present creative and effective solutions to
and ﬁnal regulations, the agency began implementing this
                                                                               longstanding challenges in family immigration.
new initiative on March 4, 2013.107 Stakeholders hailed
this critical to preserving family unity. Provisional unlawful

103
    Ombudsman Recommendation 45, “Processing of Waivers of Inadmissibility” (Jun. 10, 2010); http://www.dhs.gov/ombudsman-recommendation­
processing-waivers-inadmissibility (accessed Apr. 17, 2013).
104
    USCIS lockboxes are receipting centers for USCIS applications that handle fees and route applications.They are run by contractor personnel but have
a limited number of USCIS personnel attached to them to make decisions on fee waivers and other issues.The USCIS lockboxes are currently located in
Phoenix, AZ and Chicago, IL.
105
    Id.
106
    Provisional Unlawful Presence Waivers of Inadmissibility for Certain Immediate Relatives; Proposed Rule, 77 Fed. Reg. 19901 (Jan. 9, 2012).
107
    Provisional Unlawful Presence Waivers of Inadmissibility for Certain Immediate Relatives, 78 Fed. Reg. 535-575 (Jan. 3, 2013) and Instructions USCIS
Form I-601A, Application for Provisional Unlawful Presence Waiver; http://www.uscis.gov/ﬁles/form/i-601ainstr.pdf (accessed Apr. 22, 2013).
108
    Provisional Unlawful Presence Waivers of Inadmissibility for Certain Immediate Relatives, 78 Fed. Reg. 535, 542 (Jan. 3, 2013). Instructions USCIS
Form I-601A, Application for Provisional Unlawful Presence Waiver.
109
    Provisional Unlawful Presence Waivers of Inadmissibility for Certain Immediate Relatives, 78 Fed. Reg. 535 (Jan. 3, 2013).
110
    Provisional Unlawful Presence Waivers of Inadmissibility for Certain Immediate Relatives, 78 Fed Reg. 535, 551-552 (Jan. 3, 2013).
111
    Provisional Unlawful Presence Waivers of Inadmissibility for Certain Immediate Relatives, 78 Fed. Reg. 535 (Jan. 3, 2013).
112
    Information provided by USCIS to the Ombudsman (Apr. 24, 2013).
Citizenship and Immigration Services Ombudsman                                                                                                        26
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Employment
U.S. immigration policy fosters economic growth, responds to labor market needs, and improves
U.S. global competitiveness. As Secretary Napolitano stated, “The United States must continue
to attract the best and brightest from around the world to invest their talents, skills, and ideas
to grow our economy and create American jobs.”113 During this reporting period, USCIS
initiatives sought to address concerns with Requests for Evidence, and the agency published new
policy memoranda for the EB-5 Immigrant Investor Program. Concerns remain regarding the
quality and consistency of employment-based adjudications.




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Requests for Evidence                                                    Project, an initiative that engages stakeholders in the review
Background                                                               and revision of service center RFE templates to ensure
                                                                         they are: relevant to the classiﬁcation being adjudicated;
In prior Reports, the Ombudsman has discussed concerns                   tailored to individual cases; and concise and clear.115 Some
raised by individuals and employers regarding the quality                stakeholders have commented positively on the project,
and consistency of adjudications, and what they characterize             reporting that the quality of RFEs appear to be improving.
as inappropriate and unduly burdensome RFEs, particularly                For petitioners, the RFE templates act as a guide to preparing
in employment cases.114                                                  higher quality initial submissions, as the templates contain a
                                                                         list of supporting documents the agency typically expects to
USCIS Request for Evidence Project. On April 12, 2010,                   be provided with for various petition types.
Director Mayorkas introduced the Request for Evidence



113
    DHS Webpage, “Secretary Napolitano Announces Initiatives to Promote Startup Enterprises and Spur Job Creation” (Aug. 2, 2011);
http://www.dhs.gov/news/2011/08/02/secretary-napolitano-announces-initiatives-promote-startup-enterprises-and-spur-job (Aug. 2, 2011).
114
  Ombudsman Annual Report 2012 (Jun. 2012), pp. 16-18; http://www.dhs.gov/xlibrary/assets/cisomb-2012-annualreport.pdf, and Ombudsman
Annual Report 2011 (Jun. 2011), pp. 23-29; http://www.dhs.gov/xlibrary/assets/cisomb-annual-report-2011.pdf.
115
    USCIS Webpage, “Review and Revision of Request for Evidence Templates”;
http://www.uscis.gov/portal/site/uscis/menuitem.eb1d4c2a3e5b9ac89243c6a7543f6d1a/?vgnextoid=95e92d40ee989210VgnVCM100000082ca60
aRCRD&vgnextchannel=95e92d40ee989210VgnVCM100000082ca60aRCRD (accessed May 20, 2013). The Service Center Operations Directorate
(SCOPS) instituted the RFE Project email box (scopsrfe@uscis.dhs.gov) which allows stakeholders to bring what they feel are erroneous RFEs to
SCOPS’s attention.
Citizenship and Immigration Services Ombudsman                                                                                            28
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Thus far, USCIS has reviewed and posted for public comment                USCIS ofﬁcers are required to check VIBE if more than 60
RFE templates for the following immigrant categories:                     days have passed since the last VIBE query was done. They
Outstanding Professor and Researcher, and Multinational                   are strongly encouraged to review the ﬁling history in VIBE
Executive and Manager; and nonimmigrant categories:                       and the USCIS case management system before making a
F and M Student, J Exchange Visitor, L-1 Intracompany                     ﬁnal adjudication.
Transferee (Blanket Petition and L-1A Manager or Executive),
and O, Extraordinary Ability or Achievement.116 USCIS has                 Entrepreneurs in Residence Initiative (EIR). In October
not issued new RFE templates for two key nonimmigrant                     2011, USCIS launched the EIR initiative to “harness
employment categories: H-1B Specialty Occupations and                     industry expertise from the public and private sectors that
L-1B Intracompany Transferees with Specialized Knowledge.                 will increase the job creation potential of employment-
                                                                          based and high-skilled visa categories.”118 Through the EIR
Validation Instrument for Business Enterprises (VIBE).                    initiative, USCIS enlisted experts from the private sector
In February 2011, USCIS deployed VIBE at all four service                 to advise on policies and practices related to “immigrant
centers to enhance the adjudication of employment-based                   investors, entrepreneurs and workers with specialized skills,
petitions.117 VIBE uses commercially available data from                  knowledge, or abilities.”119 The EIR initiative was launched
an independent information provider, currently Dun &                      as “part of a wider White House and DHS effort to grow the
Bradstreet, to validate basic information about petitioning               U.S. economy and create American jobs.”120
companies or organizations. USCIS aims to use VIBE to
reduce the need for companies and organizations to submit                 In November 2012, USCIS unveiled the Entrepreneur
identical paper documentation with each petition to                       Pathways Web portal, offering immigration resources to
establish their current level of business operations. Some                entrepreneurs.121 USCIS lists EIR accomplishments on its
stakeholders ﬁnd that contrary to VIBE’s express purpose they             website: hosting a workshop for USCIS employment-based
continue to have to submit paper documentation with the                   immigration ofﬁcers that focuses on entrepreneurs and
initial ﬁling and to receive RFEs. USCIS is unable to track               the environment for startup companies and early-stage
VIBE-initiated RFEs at this time.                                         innovations; training a team of specialized immigration
                                                                          ofﬁcers to handle entrepreneur, startup nonimmigrant
Beginning December 2012, a new VIBE release added                         visa cases; and modifying RFE templates for certain
enhancements to the system allowing designated service                    nonimmigrant visa categories to incorporate new sources of
center personnel to add notes pertaining to a speciﬁc                     evidence related to entrepreneurs and startup companies into
petitioner in the VIBE system. Comments must be vetted                    the adjudicative process.122
and approved by the VIBE team. USCIS ofﬁcers are not
required to request that comments be added in VIBE, but are               On May 8, 2013, Director Mayorkas released a summary of
encouraged to submit comments for vetting and approval.                   EIR progress over the past year. The Director also announced
                                                                          the expansion of EIR to cover the areas of performing arts,




116
      Id.
117
   See USCIS Webpage, “Validation Instrument for Business Enterprises (VIBE) Program” (Jan. 24, 2012);
http://www.uscis.gov/portal/site/uscis/menuitem.eb1d4c2a3e5b9ac89243c6a7543f6d1a/?vgnextoid=521d735652f9d210VgnVCM100000082ca60
aRCRD&vgnextchannel=521d735652f9d210VgnVCM100000082ca60aRCRD (accessed May 21, 2013).
118
    USCIS Webpage, “USCIS Announces ‘Entrepreneurs in Residence Initiative” (Oct. 11, 2011);
http://www.uscis.gov/portal/site/uscis/menuitem.5af9bb95919f35e66f614176543f6d1a/?vgnextoid=bd537158910e2310VgnVCM100000082ca60
aRCRD (accessed May 21, 2013); see also USCIS Webpage, “Entrepreneurs in Residence (EIR)” (Mar. 8, 2013);
http://www.uscis.gov/portal/site/uscis/menuitem.eb1d4c2a3e5b9ac89243c6a7543f6d1a/?vgnextoid=d44eee876cb85310VgnVCM100000082ca60a
RCRD&vgnextchannel=d44eee876cb85310VgnVCM100000082ca60aRCRD (accessed May 21, 2013).
119
    USCIS Webpage, “USCIS Announces ‘Entrepreneurs in Residence Initiative” (Oct. 11, 2011);
http://www.uscis.gov/portal/site/uscis/menuitem.5af9bb95919f35e66f614176543f6d1a/?vgnextoid=bd537158910e2310VgnVCM100000082ca60
aRCRD (accessed May 21, 2013).
120
   USCIS Webpage, “The Entrepreneur in Residence (EIR) Initiative”;
http://www.uscis.gov/portal/site/uscis/menuitem.749cabd81f5ffc8fba713d10526e0aa0/?vgnextoid=6c89760c124a7310VgnVCM10000025e6a00a
RCRD&vgnextchannel=6c89760c124a7310VgnVCM10000025e6a00aRCRD (accessed May 21, 2013).
121
    USCIS Webpage, “Entrepreneur Pathways: A Resource for Immigrant Entrepreneurs”; http://www.uscis.gov/portal/site/uscis/eir (accessed May 21,
2013).
122
      Supra note 120.

29                                                                                                Annual Report to Congress – June 2013
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                                                 123
health care and information technology. The Ombudsman                      pertaining speciﬁcally to USCIS policy and practice in the
has observed EIR events but notes that it is difﬁcult to                   H-1B and L-1 categories are discussed below.
measure the impact of the EIR initiative on the quality and
consistency of USCIS employment-based adjudications.
                                                                           H-1B Specialty Occupation and
Adjudications and Supervisory Review. The USCIS
CSC requires 100 percent supervisory review of all Form
                                                                           L-1 Intracompany Transferees
I-129, Nonimmigrant Worker Petition, Notices of Intent to                  Recommendations
Deny (NOIDs) and denial decisions prior to issuance. The
VSC requires 100 percent supervisory review of all Form                    In earlier Reports, the Ombudsman described problems
I-129 denial decisions prior to issuance. At both centers,                 related to H-1B Specialty Occupation and L-1 Intracompany
supervisors conduct post-decision reviews through random                   Transferee Programs.125 Stakeholder concerns focused on
monthly audits. USCIS informed the Ombudsman that both                     USCIS policies that appear to subject small and start-up
service centers have implemented a periodic qualitative                    companies to heightened scrutiny. These same concerns
review of RFEs and other adjudication decisions to identify                were expressed to the Ombudsman this reporting period.
and address consistency issues, trends, and other factors
                                                                           USCIS Policy Guidance: H-1B Specialty Occupations.
related to performance and training needs.
                                                                           On January 8, 2010, USCIS issued a guidance memorandum
Adjudications Data. Below are RFE rates for select                         titled, “Determining Employer-Employee Relationship for
employment-based categories. The quality of RFEs is not                    Adjudication of H-1B Petitions, Including Third-Party Site
subject to numerical analysis and is more difﬁcult to assess.              Placements.” 126 The agency instructed adjudicators to
See Figure 7 on next page. Data include RFE statistics from                consider carefully petitions to determine whether there is
FY 1995 through FY 2012 for the VSC and CSC for H-1B,                      a legitimate “employer-employee relationship.” It further
L-1A and L-1B nonimmigrant visa petition categories.                       authorized the use of RFEs if the initial submission failed
Starting in 2007, the data show an increase in RFE rates for               to establish that the petitioner satisﬁes the “common law”
both L-1 nonimmigrant categories.                                          element of control over the proposed beneﬁciary. The
                                                                           memorandum also discussed the use of RFEs for ﬁlings
                                                                           by entrepreneurs that are characterized as “Self-Employed
Ongoing Concerns
                                                                           Beneﬁciaries.”127 While there is no readily available data
Stakeholders continue to express concerns with the                         that measures the impact that this memorandum has had
frequency and quality of RFEs. As discussed in previous                    on H-1B adjudications, it serves as another basis for issuing
Reports,124 employers complain of receiving RFEs that                      RFEs.
indicate a fundamental misunderstanding by USCIS of the
employer’s business, despite the submission of industry-                   On May 18, 2012, USCIS released to the public an internal
standard documents to support petitions. Stakeholders                      2008 policy memorandum titled, “H-1B Anti-Fraud
also question the need for detailed ﬁnancial or operational                Initiatives—Internal Guidance and Procedures in Response to
information from companies that have a long history of                     Findings Revealed in H-1B Beneﬁt Fraud and Compliance
previously approved petitions. Others assert that they                     Assessment.” 128 The “H-1B Anti-Fraud Memorandum” was
received RFEs seeking documents that were provided with                    issued shortly after USCIS completed a Fraud Detection and
original submissions. Additional stakeholder concerns                      National Security (FDNS) Directorate H-1B Beneﬁt Fraud &
                                                                           Compliance Assessment (BFCA).129 The memorandum states:

123
    USCIS Webpage, “USCIS to Expand Entrepreneurs in Residence Initiative” (May 8, 2013);
http://www.uscis.gov/portal/site/uscis/menuitem.5af9bb95919f35e66f614176543f6d1a/?vgnextoid=2b6be424ac48e310VgnVCM100000082ca60a
RCRD&vgnextchannel=68439c7755cb9010VgnVCM10000045f3d6a1RCRD (accessed May 21, 2013); See also “Entrepreneurs in Residence: U.S.
Citizenship and Immigration Services Initiative Summary” (May 2013); http://www.uscis.gov/USCIS/About%20Us/EIR/EntrepreneursinResidence.pdf
(accessed May 21, 2013).
124
    Ombudsman Annual Report 2011, pp. 26-29; http://www.dhs.gov/xlibrary/assets/cisomb-annual-report-2011.pdf; Ombudsman Annual Report
2010, pp. 36-48; http://www.dhs.gov/xlibrary/assets/cisomb_2010_annual_report_to_congress.pdf.
125
      Id.
126
   USCIS Interoffice Memorandum, “Determining Employer-Employee Relationship for Adjudication of H-1B Petitions, Including Third-Party Site
Placements” (Jan. 8, 2010); http://www.uscis.gov/USCIS/Laws/Memoranda/2010/H1B%20Employer-Employee%20Memo010810.pdf
(accessed May 8, 2013).
127
      Id, p. 5.
128
  USCIS Memorandum, “H-1B Anti-Fraud Initiatives—Internal Guidance and Procedures in Response to Findings Revealed in H-1B Benefit Fraud and
Compliance Assessment” (Oct. 31, 2008).
129
      See Ombudsman Annual Report 2010, p. 43.
Citizenship and Immigration Services Ombudsman                                                                                                30
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FIGURE 7: H-1B, L-1A, AND L-1B REQUESTS FOR EVIDENCE RATES

H-1B RFE RATE                           60
                                                                 &DOLIRUQLD6HUYLFH&HQWHU &6&           9HUPRQW6HUYLFH&HQWHU 96&

              RFE % OF TOTAL RECEIPTS   50

                                        40

                                        30

                                        20

                                        10

                                         0
                                             95   96   97   98     99     00     01    02     03   04   05      06    07     08    09   10   11   12
                                                                                            FISCAL YEAR

L-1A RFE RATE                           50
                                                                 &DOLIRUQLD6HUYLFH&HQWHU &6&           9HUPRQW6HUYLFH&HQWHU 96&
              RFE % OF TOTAL RECEIPTS




                                        40


                                        30


                                        20


                                        10


                                         0
                                             95   96   97   98     99     00     01    02     03    04    05    06    07     08    09   10   11   12
                                                                                            FISCAL YEAR

L-1B RFE RATE                           60
                                                            ■ &DOLIRUQLD6HUYLFH&HQWHU &6&          ■ 9HUPRQW6HUYLFH&HQWHU 96&
              RFE % OF TOTAL RECEIPTS




                                        50

                                        40

                                        30

                                        20

                                        10

                                         0
                                             95   96   97   98     99     00     01    02     03    04    05    06    07     08    09   10   11   12
                                                                                            FISCAL YEAR


6RXUFH,QIRUPDWLRQSURYLGHGE\86&,6WRWKH2PEXGVPDQ 1RY-DQ0D\$SU 




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       The statistical ﬁndings of the H-1B BFCA revealed that                    RFE data illustrate, that in the absence of such guidance, L-1B
       petitions which had one or more of the following                          petition adjudications remain subject to high RFE rates.
       attributes were more likely to have engaged in fraud
       or committed technical violation(s). These petitioner                     Ongoing Concerns
       attributes or fraud indicators include:
                                                                                 Recognition of Modern Business Practices. Stakeholders
            • Petitioners with a gross annual income of less                     expressed frustration that, in their view, USCIS often fails to
              than $10 million;                                                  recognize modern business practices. For example, USCIS
            • Petitioners which employ 25 employees or less;                     at times issues RFEs and denials citing the U.S. Department
              or                                                                 of Labor’s Occupational Outlook Handbook,134 ﬁnding that
                                                                                 the proposed employment does not qualify as a specialty
            • Petitioners whose business was established                         occupation. Such opportunities often are for a Computer
              within the last 10 years.                                          Systems Analyst and Marketing Analyst, which are common
       No single indicator or combination of these indicators                    professional positions. Stakeholders also report problems
       is necessarily determinative of the merits of an H-1B                     with USCIS accommodating evolving business practices,
       petition. However, an [adjudicating ofﬁcer] who                           including the use of virtual ofﬁces, managers of contract
       identiﬁes a petitioner that has two or more of these                      employees, and new organizational structures that do not
       indicators (the “10/25/10” formula for ease of                            have traditional management tiers and functions.
       reference) should review the H-1B petition with an
                                                                                 Business Judgment. Stakeholders stated that, in some
       awareness of the heightened possibility of fraud and/
                                                                                 cases, USCIS inappropriately scrutinizes and substitutes its
       or technical violation … .130 (emphasis in original)
                                                                                 own judgment pertaining to the business needs of the
The H-1B Anti-Fraud Memorandum provides additional                               petitioner – whether the company legitimately requires
instructions to adjudicators on what they should focus on                        the executive, manager, or specialty occupation worker
as they scrutinize petitions for the presence of fraudulent,                     sponsored in the petition.
inconsistent or questionable evidence, and when they should
                                                                                 New Ofﬁce L-1 Adjudications. Stakeholders continued
refer cases to the agency’s fraud unit.
                                                                                 to cite USCIS adjudications that delay or prevent the
USCIS Policy Guidance: L-1B Petitions. In 2010, the                              transfer of executives and managers to open ofﬁces or to
Ombudsman recommended that USCIS develop new L-1B                                expand businesses in the United States. In these cases, the
regulations under the Administrative Procedures Act (APA)                        petitioning U.S. company will typically provide a business
to clarify the meaning of “specialized knowledge.”131                            plan, a proposed organizational chart that identiﬁes current
USCIS rejected this recommendation, stating:                                     and prospective personnel, and documents showing
                                                                                 acquisition of commercial space and funding to initiate its
       USCIS believes that its current approach, which                           business. Petitioners state the success of the business plan
       includes issuance in the near future of one or a series                   depends on the transfer of the executive or manager to the
       of L-1B precedent decisions, in combination with an                       United States who is expected to hire the company’s initial
       updated “specialized knowledge” memorandum and                            staff. Some denials in these cases state that the petitioner has
       a corresponding revision of Chapter 32 of the AFM, is                     not demonstrated that the company is sufﬁciently developed
       sufﬁcient, without a notice and comment process, to                       to require the presence of an executive or manager. USCIS
       provide guidance regarding the L-1B classiﬁcation.132                     asserts that, due to the size of the company, it appears that
                                                                                 the proposed beneﬁciary would be serving as a ﬁrst-line
Six months later, the agency agreed to issue new L-1B                            supervisor, and not as an executive or manager. Such denials
guidance.133 To date, USCIS has neither published L-1B                           may overlook regulations that permit “new ofﬁce” situations
precedent decisions nor implemented such guidance.                               for a limited period of one-year to allow the business to
Meanwhile, business stakeholders continue to assert, and the                     become operational.135
130
      Supra note 128, p. 2.
131
      Administrative Procedure Act, Pub. L. No. 79-404; 5 U.S.C. § 551 (1946).
132
      USCIS 2010 Annual Report Response, p. 9.
133
   USCIS Teleconference, “L-1B Specialized Knowledge” (June 14, 2011);
http://www.uscis.gov/portal/site/uscis/menuitem.5af9bb95919f35e66f614176543f6d1a/?vgnextoid=d36c7faca91af210VgnVCM100000082ca60aR
CRD (accessed May 12, 2013).
134
    Bureau of Labor Statistics, U.S. Department of Labor, Occupational Outlook Handbook, 2012-13 Ed.; http://www.bls.gov/ooh/about/projections­
overview.htm (accessed Apr. 30, 2013).
135
      8 C.F.R. § 214.2(l)(3)(vi) (2009).

Citizenship and Immigration Services Ombudsman                                                                                                  32
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EB-5 Immigrant                                                                      Shortly after launching the EB-5 preference category,
                                                                                    Congress in 1992 authorized a pilot program to encourage
Investor Program                                                                    concentration of EB-5 capital in projects likely to have
                                                                                    greater regional and national impacts.139 The pilot program
Background                                                                          is especially attractive to investors because they are permitted
In 1990, Congress established the fifth employment-based                            to demonstrate through “reasonable methodologies” that
(EB-5) preference category for immigrants seeking to reside                         their investment will create jobs directly or indirectly.140
in the United States to engage in commercial enterprises                            Today, nearly 96 percent of all EB-5 investments flow
that create jobs.136 Congress allocated 10,000 visas annually                       through the pilot program,141 which is commonly called the
under this category for qualified foreign entrepreneurs, and                        Regional Center Pilot Program. Applications for regional
their spouses and minor children.137 To be eligible for EB-5                        center designation may be filed on behalf of a state or local
status, a foreign entrepreneur must invest a minimum of                             governmental agency, a partnership, or any other existing
$500,000 in an enterprise that will create “directly”                               business entity established in the United States and its
10 full-time positions for U.S. workers over a two-year                             territories.142 Regional Center applications are filed on
period.138                                                                          a Form I-924, Application For Regional Center Under the
                                                                                    Immigrant Investor Pilot Program. Below is the filing data for
                                                                                    the past three years for Form I-924. See Figure 8.

FIGURE 8:                   FILING DATA oN FoRM I 924, APPLICATIoN FoR REGIoNAL CENTER UNDER
                            THE IMMIGRANT PILoT PRoGRAM
                      300


                      250


                      200
       APPLICATIoNs




                      150


                      100


                      50


                       0
                                            2012                                     2011                                   2010
                                                                              FIsCAL YEAR

                                          ■ I-924 Receipts              ■ I-924 Approvals             ■ I-924 Denials
                        YEAR           I 924 RECEIPTs                I 924 APPRovALs                I 924 DENIALs                  RFE RATE
                       FY2012:                240                              35                           63                        75%
                       FY2011:                278                              123                          58                        56%
                       FY2010: *              152                               8                           41                          0

                      *Form I-924 came into use on November 23, 2010.
                      Source: USCIS, “U.S. Citizenship and Immigration Services, Form I-526, Immigrant Petition by Alien Entrepreneur and Form
                      I-829, Petition by Entrepreneur to Remove Conditions Service-wide Receipts, Approvals, Denials, Fiscal Year(s): 2005 - 2012”
                      http://www.uscis.gov/USCIS/Resources/Reports%20and%20Studies/Immigration%20Forms%20Data/Employment-
                      based/I526_I924_I829_performancedata_qtr43.pdf (accessed Apr. 11, 2013).


136
      Immigration Act of 1990, § 121(b)(5), Pub. L. No. 101–649; 8 U.S.C. § 1153(b)(5).
137
      INA § 203(b)(5)(A).
138
   INA § 203(b)(5)(B)(ii). Most foreign entrepreneurs invest in a “targeted employment area,” defined as a rural or urban area that has experienced
high unemployment (of at least 150% of the national average rate). Under 8 C.F.R. § 204.6(f), the amount of capital necessary to make a qualifying
investment in a targeted employment area within the United States is $500,000.
33                                                                                                        Annual Report to Congress – June 2013
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The individual immigrant investor begins the EB-5                                          2012, USCIS received nearly 300% more Form I-526 ﬁlings.
process by ﬁling Form I-526, Immigrant Petition by Alien                                   Also, USCIS data show a spike in the issuance of RFEs, which
Entrepreneur. If the petition is approved and the investor                                 reached 72% in FY 2011, then decreased to 44% in FY
resides abroad, the investor must seek the issuance of an                                  2012. See Figure 9.
EB-5 visa through a DOS consular post. From FY 2010 to


FIGURE 9: FORM I-526, IMMIGRANT PETITION BY ALIEN ENTREPRENEUR RECEIPTS

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      APPLICATIONS




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                                                                                    FISCAL YEAR


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                         YEAR              I-526 RECEIPTS                     I-526 APPROVALS             I-526 DENIALS                           RFE RATE
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                       SURYLGHGE\86&,6WRWKH2PEXGVPDQ $SU 



139
      The Judiciary Appropriations Act of 1993, § 610, Pub. L. No. 102-395 (Oct. 6, 1992).
140
      Id.
141
  U.S. Department of State Visa Office Report, “Table 5 (Part 3): Immigrant Visas Issued and Adjustment of Status Subject to Numerical Limitations, FY
2012” (n.d.); http://www.travel.state.gov/pdf/FY12AnnualReport-TableV-PartIII.pdf (accessed Apr. 3, 2013).
142
    USCIS Webpage, “Form I-924, Application for Regional Center Under the Immigrant Investor Pilot Program, Instructions”;
http://www.uscis.gov/files/form/i-924instr.pdf (accessed May 20, 2013).
Citizenship and Immigration Services Ombudsman                                                                                                                                 34
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FIGURE 10: EB-5 IMMIGRANT INVESTOR PROGRAM VISA DEMAND


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     EB-5 VISAS ISSUED



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     REGIONAL CENTERS
     USCIS DESIGNATED




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                                 FISCAL YEAR            EB-5 VISAS ISSUED*              USCIS DESIGNATED REGIONAL CENTERS**
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35                                                                                                                Annual Report to Congress – June 2013
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With a valid EB-5 visa, the immigrant investor and any                       Tenant-Occupancy. Generally, the tenant-occupancy
approved dependents may enter the United States as                           methodology seeks credit for job creation traced to the
conditional permanent residents with authorization to                        independent tenant businesses that lease space in buildings
remain for two years. Ninety days prior to the second                        developed with EB-5 funding. Many regional center projects
anniversary of such entry or admission, the immigrant                        and individual EB-5 investors relied on this job creation
investor is required to ﬁle Form I-829, Petition by                          methodology in past years, resulting in project and petition
Entrepreneur to Remove Conditions. USCIS’s approval of the                   approvals.
Form I-829 accords the immigrant investor and any qualiﬁed
dependents LPR status.                                                       In early FY 2012, USCIS began to question EB-5 ﬁlings that
                                                                             relied on a tenant-occupancy methodology. The agency
When the Ombudsman issued its “Employment Creation                           scrutinizes those job models to ensure that petitioners are
Immigrant Visa (EB-5) Program Recommendations” on March                      not counting as new full-time positions existing jobs that
18, 2009, usage of this visa category had been low, with                     are merely relocated as tenant-employers move operations
fewer than 1,000 visas issued annually over the 10-year                      from one site to another. In January 23, 2012, USCIS
period from 1998 to 2007.143 Recent data show a dramatic                     acknowledged that it had placed an adjudication hold on
increase in issuance of EB-5 visas and designation of regional               certain unspeciﬁed EB-5 ﬁlings.147 On February 17, 2012,
centers. From 2011 to 2012, there was a 265% increase in                     USCIS announced that it was “moving forward” with the
EB-5 visa usage. See Figure 10.                                              adjudication of tenant-occupancy related cases, and would
                                                                             be issuing RFEs to “certain applicants and petitioners to
On December 3, 2012, USCIS announced in a stakeholder                        address any questions or issues … about the economic
engagement the transfer of EB-5 adjudications from the                       methodologies employed in their speciﬁc cases.”148 During
CSC to Washington, D.C. by mid-2013.144 Approximately                        the remainder of 2012, USCIS issued numerous RFEs
two weeks later, on December 20, 2012, USCIS issued a                        related to the tenant-occupancy methodology, and in
guidance memorandum addressing the “tenant-occupancy”                        some cases, second and third RFEs seeking clariﬁcation of
economic methodology used by many regional centers to                        earlier responses. On December 20, 2012, USCIS issued a
satisfy job creation requirements.145 On February 14, 2013,                  brief “Operational Guidance” memorandum setting out the
USCIS issued a third draft of a proposed consolidated EB-5                   principles for evaluating whether “a reasonable causal link
Adjudication Policy Memorandum for public comment.146                        [exists] between the EB-5 enterprise and the job creation
                                                                             that would allow for the attribution of the tenant jobs to the
                                                                             EB-5 enterprise.”149




143
    See DHS Office of Immigration Statistics 2007, “Yearbook of Immigration Statistics: Table 6” (Sept. 2008); http://www.dhs.gov/yearbook­
immigration-statistics-2007-3; DHS Office of Immigration Statistics 2012 “Yearbook of Immigration Statistics:Table 6” (Mar. 2013);
http://www.dhs.gov/yearbook-immigration-statistics-2012-legal-permanent-residents (accessed Apr. 30, 2013).
144
    USCIS Webpage, “A Conversation with Director Mayorkas – EB-5 Immigrant Investor Program” (Dec. 4, 2012);
http://www.uscis.gov/portal/site/uscis/menuitem.5af9bb95919f35e66f614176543f6d1a/?vgnextoid=1eecc0a215a1b310VgnVCM100000082ca60a
RCRD&vgnextchannel=994f81c52aa38210VgnVCM100000082ca60aRCRD (accessed Apr. 30, 2013).
145
 USCIS Guidance Memorandum, “Operational Guidance for EB-5 Cases Involving Tenant-Occupancy” (Dec. 20, 2012);
www.uscis.gov/USCIS/Laws/Memoranda/Interim%20EB-5%20Tenant-Occupancy%20GM.pdf (accessed Mar. 19, 2013).
146
    USCIS Draft Policy Memorandum, “EB-Adjudications Policy” (n.d.);
www.uscis.gov/USCIS/Outreach/Feedback%20Opportunities/Draft%20Memorandum%20for%20Comment/drafteb5adjudication.pdf (accessed Mar.
19, 2013).
147
   USCIS Public Engagement, “EB-5 Immigration Investor Program Stakeholder Meeting” (Jan. 23, 2012);
http://www.uscis.gov/USCIS/Outreach/Notes%20from%20Previous%20Engagements/Notes%20from%20Previous%20Engagements%20by%20Topic/
January%20EB-5%20presentation%20FINAL.pdf (accessed May 21, 2013).
148
    USCIS Office of Public Engagement: EB-5 Tenant Occupancy Message; http://content.govdelivery.com/bulletins/gd/USDHSCIS-2f4c06 (accessed May
21, 2013).
149
      Supra note 145.

Citizenship and Immigration Services Ombudsman                                                                                                36
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                                                                           Additionally, the proposed policy memorandum also
                                                                           addresses a number of other issues, including: (1) when the
                                                                           agency will afford deference to prior adjudications involving
                                                                           the same project; and (2) the agency’s presumption that a
                                                                           “reasonable time” to satisfy the job creation requirement
                                                                           may not exceed one year, if this issue remains unresolved
                                                                           when the investor ﬁles the petition to remove conditions.

                                                                           Ongoing Concerns

                                                                           The Ombudsman continues to work to resolve individual
                                                                           EB-5 cases, review relevant policies and adjudications, and
                                                                           elevate stakeholder concerns, as appropriate.

                                                                           At the close of this reporting period, the Ombudsman had
                                                                           received 441 requests for EB-5 case assistance, representing
                                                                           approximately 10 percent of this year’s casework. The vast
                                                                           majority of these inquiries came from investors and regional
                                                                           centers’ applicants whose cases had been pending past
                                                                           posted processing times. According to USCIS’s online “My
Proposed EB-5 Policy Memorandum Posted for Public                          Case Status” tool, as of February 28, 2013, there were 6,025
Comment. USCIS posted the third draft of its policy                        Form I-526 petitions pending with an average processing
memorandum for public comment on February 14, 2013.150                     time of 11.7 months.153 Based on this data and the program
The draft memorandum appears to reverse the agency’s                       requirements, these petitions represent a potential $3 billion
earlier position as to the effect of a “material change” to a              and 60,000 new full-time jobs in the United States awaiting
business plan.151 The new “draft” states:                                  USCIS action.
        In order to provide ﬂexibility to meet the realities
        of the business world, USCIS will permit an alien                      Case Example: During the reporting period, the
        who has been admitted to the United States on                          Ombudsman received an inquiry regarding more than
        a conditional basis to remove those conditions                         100 Form I-526 petitions associated with a large urban
        when circumstances have changed. An individual                         redevelopment project. Although USCIS previously
        investor can, at the prescribed time, proceed                          approved this regional center project, the immigrant
        with his or her Form I-829 petition to remove                          investor petitions remained pending for up to 212 days
        conditions and present documentary evidence                            past the processing time goal of ﬁve months.154 These
        demonstrating that, notwithstanding the business plan                  delays placed the project at risk of failure, according
        contained in the Form I-526, the requirements for                      to counsel for the regional center. Soon after the
        the removal of conditions have been satisﬁed.152                       Ombudsman brought these cases to USCIS’s attention,
        (Emphasis added)                                                       the agency began issuing decisions.



150
      Supra note 146, p. 23.
151
   USCIS Webpage, “A Work in Progress:Towards a New Draft Policy Memorandum Guiding EB-5 Adjudications” (Nov. 9, 2011);
(http://www.uscis.gov/USCIS/Outreach/Feedback%20Opportunities/Draft%20Memorandum%20for%20Comment/EB_5_Adjudications_Policy3.pdf)
(accessed May 21, 2013); USCIS Webpage, “Message From The Director: Revised Draft Policy Memorandum Guiding EB-5 Adjudications”
(Jan. 11,2012);
(http://www.uscis.gov/USCIS/Outreach/Feedback%20Opportunities/Draft%20Memorandum%20for%20Comment/EB5_coverandmemo_2ndpost.pdf)
(accessed May 21, 2013). See USCIS Memorandum, “Adjudication of EB-5 Regional Center Proposals and Affiliated Form I-526 and Form I-829 Petitions;
Adjudicators Field Manual (AFM) Update to Chapters 22.4 and 25.2” pp. 5, 19-20 (Dec. 11 2009);
http://www.uscis.gov/USCIS/Laws/Memoranda/Static%20Files%20Memoranda/Adjudicating%20of%20EB-5_121109.pdf (accessed May 21, 2013).
152
      Supra note 146, p. 23.
153
   USCIS Webpage, “National Processing Volumes and Trends: Form I-526, California Service Center” (Feb. 2013);
http://dashboard.uscis.gov/index.cfm?formtype=18&office=2&charttype=2 (accessed May 21, 2013); USCIS Webpage, “USCIS Processing Time
Information” (n.d.); https://egov.uscis.gov/cris/processTimesDisplayInit.do;jsessionid=bach8S4s9cvN_7pAO2i7t (accessed May 21, 2013).
154
    USCIS EB-5 Public Engagement, “PowerPoint Presentation,” p. 12 (Dec. 16, 2010);
http://www.uscis.gov/USCIS/Outreach/Notes%20from%20Previous%20Engagements/2010/December%202010/eb-5-dec-16-2010-ppt.pdf
(accessed May 20, 2013).

37                                                                                                 Annual Report to Congress – June 2013
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On March 5, 2013, the Ombudsman held a meeting with                           The Ombudsman issued and broadly disseminated an
EB-5 stakeholders.155 The purpose of the meeting was to                       executive summary of the stakeholder engagement ﬁndings.
discuss challenges related to the EB-5 Immigrant Investor                     Ombudsman Odom delivered the executive summary along
Program. Stakeholders focused on the following areas of                       with stakeholder written submissions to USCIS Director
concern:156                                                                   Mayorkas. She continues a robust and constructive dialogue
                                                                              with the Director regarding issues pertaining to the EB-5
• Communications
                                                                              program.
      – Participants were critical of the dedicated EB-5
        Immigrant Investor Program email box, stating                         New Development
        that responses are often not timely, and limited to
        basic case status.                                                    Just prior to publication of this Report, on May 30, 2013,
                                                                              USCIS issued a new ﬁnal EB-5 Policy Memorandum. This
      – Participants requested more direct communication
                                                                              memorandum begins by emphasizing that the purpose
        with adjudicators via telephone and email.
                                                                              of the EB-5 Program is to promote the immigration of
• Processing Delays                                                           people who can help create jobs for U.S. workers through
      – Participants uniformly described posted processing                    their investment of capital into the U.S. economy, and
        times as unreliable.                                                  that preponderance of the evidence is the standard of
                                                                              proof in EB-5 adjudications. The memorandum addresses
      – They also expressed frustration over receipt of multiple
                                                                              many longstanding stakeholder concerns, including when
        RFEs for the same petition.
                                                                              deference will be afforded to prior adjudications and the
• Policy Development                                                          need for ﬂexibility to accommodate business realities.
      – Participants called for a clear and binding project
                                                                              Ombudsman Odom will continue to engage with Director
        pre-approval process with subsequent
                                                                              Mayorkas on EB-5 issues and developments in the next
        adjudications deference.
                                                                              reporting period, including implementation of this
      – They underscored that future EB-5 Immigrant                           important guidance as well as the upcoming move of
        Investor Program policy development should be                         the EB-5 adjudications unit to Washington, D.C.
        conducted in accordance with business realities and
        be reasonable commercially.
      – Participants stressed that USCIS should avoid
        implementing new or more restrictive policy
        guidance retroactively.




155
    Stakeholders were notified of this event through an email announcement, and given the opportunity to attend in person or to participate telephoni­
cally in listen-only mode. Approximately 75 stakeholders attended in-person, and another 358 individuals participating telephonically. Stakeholders
were given the option to provide written submissions in advance of the meeting to provide input to the Ombudsman.
156
      A detailed summary of the meeting is available at http://www.dhs.gov/publication/eb-5-stakeholder-meeting-summary (accessed Apr. 19, 2013).
Citizenship and Immigration Services Ombudsman                                                                                                       38
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                                                                                 Recommendations
Petition Information
                                                                                 On May 16, 2012, the Ombudsman made recommendations
Management System                                                                to address visa processing delays connected with USCIS’s
Background                                                                       occasional failure to transmit Form I-129 petition approval
                                                                                 information and documents to KCC.160 The Ombudsman
The Ombudsman reviewed concerns from stakeholders                                recommended that USCIS:
that the process for transferring immigration petition
information from USCIS to the DOS Petition Information                           1) Instruct USCIS service centers to make a copy of Form
Management Service (PIMS) was causing delays in the                                 I-129 petition package regardless of whether a duplicate
issuance of visas to certain employment-based beneﬁciaries                          petition package has been submitted with the ﬁling, and
in nonimmigrant categories.157 PIMS is a component of the                           send it to the DOS KCC for uploading into PIMS; or,
Consolidated Consular Database system, enabling consular                         2) Send the original petition package to the KCC, for
ofﬁcers to verify electronically nonimmigrant petition                              scanning of documents, data entry, and – upon
approval and review digital copies of forms and supporting                          completion – forward the original petition package to
documentation.158 DOS informed the Ombudsman that                                   the USCIS National Records Center for storage; or,
in approximately nine percent of employment-based
nonimmigrant cases, consular ofﬁcers overseas lacked                             3) Scan all approved petition packages at a USCIS facility,
required information regarding USCIS’s processing of Form                           so electronic copies can be forwarded to the KCC for
I-129, Petition(s) for a Nonimmigrant Worker.159                                    uploading into PIMS.

When a nonimmigrant petitioner (or his/her legal                                 USCIS Response
representative) fails to submit the required duplicate of the
Form I-129 package to USCIS, the agency does not forward                         USCIS responded to these recommendations on August
evidence of action on the petition to the DOS Kentucky                           13, 2012.161 The agency declined to implement the ﬁrst
Consular Center (KCC). Since the KCC is responsible for                          two measures, citing resource limitations, ﬁnancial costs,
scanning and uploading information into PIMS, this causes                        decreased productivity, and privacy concerns. USCIS
processing delays, economic difﬁculties, and various other                       concurred in principle with the third recommendation, but
problems for employers and individuals attempting to secure                      noted that the agency currently lacks the resources necessary
visas through a U.S. consulate.                                                  for implementation. The agency also noted that in the future
                                                                                 it plans to provide all petition information to DOS through
                                                                                 the recently deployed USCIS Electronic Information System
                                                                                 (ELIS).162




157
   U.S. Department of State Cable, “Accessing NIV Petition Information Via the CCD” (Nov. 17, 2007);
http://travel.state.gov/visa/laws/telegrams/telegrams_4201.html (accessed April 11, 2013). These nonimmigrants categories are as follows: H
(Specialty Occupations), L (Executives, Managers and Specialized Knowledge workers), O (Extraordinary Ability), P (Athletes, Entertainers and Artists),
Q (Cultural Performers), and R (Religious workers).
158
      Id.; U.S. Department of State, “Consolidated Consular Database Privacy Impact Assessment,” (Mar. 22, 2010).
159
    Information provided by the U.S. Department of State, Kentucky Consular Center to the Ombudsman (June 21, 2011); See USCIS Forms, “Instructions
for Form I-129, Petition for a Nonimmigrant Worker” (Jan. 19, 2011); http://www.uscis.gov/files/form/i-129instr.pdf (accessed Apr. 11, 2013).
160
    Ombudsman Recommendation 53, “Recommendations Regarding USCIS’ Role in the Petition Information Management Service” (May 16, 2012);
http://www.dhs.gov/xlibrary/assets/cisomb/cisomb-pims.pdf (accessed Mar. 26, 2013).
161
    USCIS Response to Recommendation 53, (Aug. 13, 2012);
http://www.uscis.gov/USCIS/Resources/Ombudsman%20Liaison/Responses%20to%20Formal%20Recommendations/USCIS%20Response%20to%20
CISOMB%20PIMS%20Recommendation.pdf (accessed Mar. 27, 2013).
162
      Id.
39                                                                                                       Annual Report to Congress – June 2013
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Ongoing Concerns

USCIS declined to accept recommendations offered by the
Ombudsman to ameliorate the negative consequences of
failure to submit duplicate copies of nonimmigrant petitions.
As a result, petitioners who may have inadvertently failed to
submit the required duplicate copies will continue to face
avoidable DOS visa issuance delays.

Conclusion

Consistency in RFEs is an important goal, and the
Ombudsman will monitor USCIS’s efforts in the RFE Project.
The Ombudsman will continue to address stakeholders’
concerns regarding RFEs, and assess USCIS initiatives
designed to improve the quality and consistency of
adjudications. With an eye toward USCIS developing L-1B
regulations, the Ombudsman will review H-1B and L-1
adjudication policies and practices this coming year.

Regarding the EB-5 Immigrant Investor program, the
Ombudsman anticipates future USCIS and stakeholder
engagements, especially to discuss the transition of the
EB-5 unit from the CSC to Washington, D.C.




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USCIS Customer Service
Immigration policies and services must be transparent and consistent in order to be effective.
This reporting year, USCIS launched new initiatives, continued public engagement, and
improved customer access to resources and information. The agency also successfully reduced
the AAO processing times. Despite this progress, certain programmatic challenges persist.




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Processing Times                                                        Division coordinates and directs agency-wide dialogue with
                                                                        external stakeholders, while the Customer Service Division
Processing times for Form I-485, Application to Register                provides information and guidance to USCIS applicants,
Permanent Residence or Adjust Status, and Form N-400,                   petitioners and advocates regarding immigration beneﬁts.
Application for Naturalization, adjudications remained                  It oversees the Customer Assistance Ofﬁce (CAO) and
comparable to last year, at approximately ﬁve months and                Contact Center Enterprise (CCEO), as well as the NCSC.
four and half months, respectively. See Figure 11 on                    USCIS continued public engagement, hosting more than
page 44. The AAO notably eliminated nearly all of its                   1,600 public events with over 520,000 participants.164
extended processing times. It is now adjudicating appeals
within USCIS’s processing time goal of six months or less.163           As stated earlier, in approximately 66 percent of all cases
                                                                        brought to the Ombudsman, individuals and employers
                                                                        attempted to resolve problems through the NCSC. When
Customer Service and                                                    NCSC staff cannot resolve a customer’s inquiry, USCIS uses
                                                                        the Service Request Management Tool (SRMT), an electronic
Public Engagement                                                       inquiry system that transfers the request to a USCIS ﬁeld
During this reporting year, USCIS established the “USCIS                or service center location. An individual can also make an
Customer Service and Public Engagement Directorate,”                    e-Request to generate an SRMT inquiry.165 See Figure 12
which is divided into two divisions. The Public Engagement              on page 45.
163
    USCIS Webpage, “AAO Processing Times,”
http://www.uscis.gov/portal/site/uscis/menuitem.5af9bb95919f35e66f614176543f6d1a/?vgnextoid=8ff31eeaf28e6210VgnVCM100000082ca60aR
CRD&vgnextchannel=dfe316685e1e6210VgnVCM100000082ca60aRCRD (accessed May 20, 2013).
164
      Information provided by USCIS to the Ombudsman (Apr. 24, 2013).
165
      See supra note 6.
Citizenship and Immigration Services Ombudsman                                                                                   42
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                                                                            Naturalization,” and hosted a series of public engagements
                                                                            on this resource.167 Ultimately, USCIS intends to replace
                                                                            the AFM and the Immigration Policy Memoranda portion
                                                                            of its public website with the Policy Manual.168 No speciﬁc
                                                                            timeframe has been established for future releases.


                                                                            The Administrative
                                                                            Appeals Ofﬁce
                                                                            Background
                                                                            The AAO has delegated authority to adjudicate appeals of
                                                                            certain USCIS decisions.169 The AAO exercises jurisdiction
                                                                            over matters described in 8 C.F.R. section 103.1(f)(3)
                                                                            (iii).170 The AAO reviews the decisions made by USCIS
                                                                            on applications and petitions for immigration beneﬁts,
                                                                            including, but not limited to, employment-based petitions,
                                                                            applications for Temporary Protected Status (TPS), SIJ
                                                                            petitions, and applications relating to citizenship.171
Every SRMT inquiry receives a reference number for tracking
purposes. USCIS received 1,022,490 SRMT requests during                     In 2005, the Ombudsman recommended that the AAO
this reporting period.                                                      make available to the public its standard of review, precedent
                                                                            decision process, criteria by which cases are selected for
                                                                            oral argument, and decision-making statistics.172 Since
Policy Manual                                                               that time, the AAO has eliminated lengthy processing
                                                                            times,173 but stakeholders continue to express concern and
Effective January 22, 2013, USCIS announced the creation of
                                                                            confusion regarding the AAO’s authority, independence,
a new Policy Manual designed to adapt easily to changes in
                                                                            and procedures.
immigration law and policy.166 To date, USCIS has released
one chapter of the Policy Manual, titled “Citizenship and




166
    USCIS Policy Manual - Effective as of Jan. 22, 2013;
http://www.uscis.gov/portal/site/uscis/menuitem.eb1d4c2a3e5b9ac89243c6a7543f6d1a/?vgnextoid=d58459009ccfb310VgnVCM100000082ca60a
RCRD&vgnextchannel=d58459009ccfb310VgnVCM100000082ca60aRCRD (accessed May 21, 2013).
167
    USCIS Policy Manual Webinars;
http://www.uscis.gov/portal/site/uscis/menuitem.5af9bb95919f35e66f614176543f6d1a/?vgnextoid=a891fe78ac41c310VgnVCM100000082ca60a
RCRD&vgnextchannel=58479a485510e210VgnVCM100000082ca60aRCRD (accessed May 21, 2013).
168
      Id.
169
  DHS Delegation Number 0150.1 (effective Mar. 1, 2003), which was created pursuant to the authority vested in the Secretary through the HSA of
2002, Pub. L. 107-296.
170
    USCIS Webpage, “Appeals of Denied Petitions Under the Jurisdiction of the Administrative Appeals Office (AAO) by subject matter,”
http://www.uscis.gov/portal/site/uscis/menuitem.5af9bb95919f35e66f614176543f6d1a/?vgnextoid=b2521eeaf28e6210VgnVCM100000082ca60a
RCRD&vgnextchannel=dfe316685e1e6210VgnVCM100000082ca60aRCRD; USCIS Webpage, “Appeals of Denied Petitions Under the Jurisdiction of the
Administrative Appeals Office (AAO) by Form Number,”
http://www.uscis.gov/portal/site/uscis/menuitem.5af9bb95919f35e66f614176543f6d1a/?vgnextoid=e0a21eeaf28e6210VgnVCM100000082ca60a
RCRD&vgnextchannel=dfe316685e1e6210VgnVCM100000082ca60aRCRD (both accessed May 21, 2013). The AAO does not exercise jurisdiction over
petitions for approval of schools and the appeals of decisions to withdraw approval of schools for attendance by foreign students.
171
   USCIS Webpage, “The Administrative Appeals Office (AAO)” (Mar. 19, 2013);
http://www.uscis.gov/portal/site/uscis/menuitem.eb1d4c2a3e5b9ac89243c6a7543f6d1a/?vgnextoid=dfe316685e1e6210VgnVCM100000082ca60a
RCRD&vgnextchannel=dfe316685e1e6210VgnVCM100000082ca60aRCRD (accessed May 21, 2013).
172
    Ombudsman Recommendation 20, “Recommendation from the CIS Ombudsman to the Director, USCIS” (Dec. 6, 2005);
http://www.dhs.gov/xlibrary/assets/CISOmbudsman_RR_20_Administrative_Appeals_12-07-05.pdf (accessed May 21, 2013).
173
   USCIS Webpage, “AAO Processing Times” (May 10, 2013);
http://www.uscis.gov/portal/site/uscis/menuitem.5af9bb95919f35e66f614176543f6d1a/?vgnextoid=8ff31eeaf28e6210VgnVCM100000082ca60aR
CRD&vgnextchannel=dfe316685e1e6210VgnVCM100000082ca60aRCRD (accessed May 21, 2013).

43                                                                                                  Annual Report to Congress – June 2013
                              Case 8:19-cv-01944-SAG                                             Document 3-5                      Filed 07/01/19                  Page 58 of 73
FIGURE 11: AVERAGE PROCESSING TIMES FOR FORMS N 400 ANd I 485

                                          U.S. Citizenship and Immigration Services Application for Naturalization (N-400) �
                                                 Cycle Times by Field Office for Fiscal Year 2013 (through 2nd Qtr) �
                                                                    Source: Information provided by USCIS to the Ombudsman (Apr. 24, 2013).

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     U.S. Citizenship and Immigration Services Application to Register Permanent Residence or Adjust Status (I-485)
                            Cycle Times by Field Office for Fiscal Year 2013 (through 2nd Qtr)
                                                                    Source: Information provided by USCIS to the Ombudsman (Apr. 24, 2013).


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FIGURE 12: SRMT REQUESTS

                                Summary of Service Requests (April 2012 to March 2013)

                        CASE TYPE                 TOTAL                                                Other
                                                                                Typo Error             11%                Nondelivery
                                                                                   9%                                        23%
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Ongoing Concerns                                                               does not appear in the regulations. USCIS ﬁrst indicated to
                                                                               the Ombudsman in 2005 that it hoped to publish the
Appellate Authority. Stakeholders question whether the
                                                                               AAO’s standard of review in the Federal Register as part of
AAO is an independent appellate body.174 According to the
                                                                               a new Interim Rule, titled the “Administrative Appeals Ofﬁce:
AAO, its ofﬁcers maintain independence in the adjudication
                                                                               Procedural Reforms to Improve Efﬁciency.” 178 USCIS reiterated
process. They may verify information provided in the record
                                                                               this expectation during a national stakeholder engagement
using VIBE175 or other web-based resources; consult with
                                                                               held on October 20, 2010.179 Agency leaders noted that
the USCIS Ofﬁce of Chief Counsel if a case involves novel or
                                                                               the proposed regulation would help streamline the appeal
complex issues of legal interpretation; and speak with USCIS
                                                                               process, offer the public a better understanding of what to
component staff on operational or policy issues impacting
                                                                               expect when ﬁling an appeal, and address certain policy and
appellate decisions.176
                                                                               procedural issues, such as the accrual of unlawful presence
Need for Regulations and Practice Manual. The standard                         during the pendency of an appeal.180
of review applied by the AAO is de novo.177 This standard


174
    Ombudsman Teleconference Recap, “The USCIS Administrative Appeals Office” (Dec. 19, 2012); http://www.dhs.gov/ombudsman-teleconference­
recap-uscis-administrative-appeals-office (accessed May 21, 2013).
175
   VIBE is a web-based tool designed to enhance USCIS’s adjudications of certain employment-based immigration petitions. For more information on
VIBE, see generally USCIS Webpage;
http://www.uscis.gov/portal/site/uscis/menuitem.eb1d4c2a3e5b9ac89243c6a7543f6d1a/?vgnextoid=521d735652f9d210VgnVCM100000082ca60
aRCRD&vgnextchannel=521d735652f9d210VgnVCM100000082ca60aRCRD (accessed May 21, 2013). The Ombudsman reported that immediately
following VIBE’s rollout, stakeholders reported that the database underlying VIBE, at times, contained inaccurate and outdated information, and that
continued problems connected with VIBE have led to burdensome Requests for Evidence and erroneous denials. See Ombudsman Annual Report 2012,
pp. 17-18; http://www.dhs.gov/xlibrary/assets/cisomb-2012-annualreport.pdf (accessed May 21, 2013).
176
      Information provided by USCIS to the Ombudsman (Dec. 18, 2012).
177
   Id. De novo review means that the AAO takes a new look at the entire case as if no decision had previously been issued. The AAO maintains that its de
novo review has been upheld in federal court. See, e.g., Dor v. INS, 891 F.2d 997, 1002 n. 9 (2d Cir. 1989); Soltane v. DOJ, 381 F.3d 143, 145 (3d Cir.
2004); Spencer Enterprises Inc. v. U.S., 229 F. Supp.2d 1025, 1043 (E.D. Cal. 2001), aff'd. 345 F.3d 683 (9th Cir. 2003)). Authority for AAO review
under the former Immigration and Naturalization Services, 8 C.F.R. § 103.1(f)(3)(iii); http://www.gpo.gov/fdsys/pkg/CFR-2003-title8­
vol1/xml/CFR-2003-title8-vol1-sec103-1.xml (accessed May 21, 2013).
178
    USCIS Response to Recommendation 20 (Dec. 19, 2005);
http://www.dhs.gov/xlibrary/assets/CISOmbudsman_RR_20_Administrative_Appeals_USCIS_Response-12-19-05.pdf (accessed May 21, 2013).
179
    USCIS Webpage, “Listening Session with the Administrative Appeals Office (AAO)” (Oct. 20, 2010);
http://www.uscis.gov/portal/site/uscis/menuitem.5af9bb95919f35e66f614176543f6d1a/?vgnextoid=09df1980a9aaa210VgnVCM100000082ca60a
RCRD&vgnextchannel=994f81c52aa38210VgnVCM100000082ca60aRCRD (accessed May 21, 2013).
180
      Id.
45                                                                                                      Annual Report to Congress – June 2013
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More recently, USCIS indicated that it intends to publish a                   may designate AAO decisions as precedential.186 The AAO
Notice of Proposed Rulemaking (NPRM).181 It is not clear                      published one precedent decision in FY 2011, and two
whether this NPRM will specify the AAO’s standard of review                   precedent decisions in FY 2010.187
or address other matters discussed in earlier proposed rules.
                                                                              Stakeholders believe that by publishing more precedent
In the absence of a ﬁnal rule, stakeholders continue to seek
                                                                              decisions, the AAO will help USCIS adjudicators understand
clarifying information as to AAO policies and procedures.182
                                                                              and apply the law more consistently.188 Future precedent
In a meeting with the Ombudsman in February 2013, AAO
                                                                              decisions may also offer stakeholders more information
leaders indicated that they are in the process of creating a
                                                                              as to evidentiary and other requirements.189
practice manual they hope will address common stakeholder
questions and concerns.183 They compared the manual to                        Searchable Index to AAO Decisions. While AAO non-
a similar resource published by the Board of Immigration                      precedent decisions are generally available on USCIS’s
Appeals, which discusses the following topics: jurisdiction                   website, stakeholders point out that they are neither timely
and authority; scope of review; ﬁling requirements, fees and                  published nor indexed based on case name.190 USCIS has
processes; how to request expedited handling; and protocols                   indicated that its records ofﬁce aims to redact and post non-
for oral arguments.184                                                        precedent decisions within six months of issuance.191

Need for Precedent Decisions. Generally, AAO decisions are                    Processing Times. As of March 2013, nearly all appeal
deemed precedent or non-precedent. Precedent decisions                        categories were current despite sharp increases in caseloads
serve as binding legal authority for determining later cases                  over the past several years.192 While this is a positive
involving similar facts or issues, whereas non-precedent                      accomplishment, it must be noted that the AAO considers a
decisions are binding only on the parties to the case or                      case to be current as long as it is decided within six months
controversy at issue.185                                                      from the time of receipt of the appeal by the AAO. This
                                                                              timeframe does not include when the appeal was pending
Pursuant to 8 C.F.R. section 103.3(c), the Secretary of
                                                                              at the USCIS ﬁeld ofﬁce or service center that issued the
Homeland Security, with the Attorney General’s approval,
                                                                              original denial decision.193




181
   Unified Agenda of Federal Regulatory and Deregulatory Actions, 78 Fed. Reg. 1586 (Jan. 8, 2013). This includes RIN: 1601-AA65, “Administrative
Appeals Office: Procedural Reforms to Improve Efficiency.” According to the abstract, “[t]his proposed rule revises the requirements and procedures for
the filing of motions and appeals before the Department of Homeland Security (DHS), U.S. Citizenship and Immigration Services, and its [sic] Adminis­
trative Appeals Office. The proposed changes are intended to streamline the existing processes for filing motions and appeals and will reduce delays in
the review and appellate process. This rule also proposes additional changes necessitated by the establishment of DHS and its components.”
182
      Ombudsman Teleconference, “The USCIS Administrative Appeals Office (AAO)” (Dec. 19, 2012).
183
      Information provided by USCIS to the Ombudsman (Feb. 7, 2013).
  See generally BIA Practice Manual; http://www.justice.gov/eoir/vll/qapracmanual/apptmtn4.htm, and the Executive Office of Immigration Review
184

(Immigration Court) Practice Manual; http://www.justice.gov/eoir/vll/OCIJPracManual/ocij_page1.htm (both accessed May 21, 2013).
185
    Information provided by USCIS to the Ombudsman (Dec. 18, 2012). While non-precedent decisions are not binding, stakeholders report instances
where changes in USCIS policy have been accomplished, in part, through such AAO decisions. The Ombudsman provided information about a
non-precedent AAO decision’s logic and rationale that USCIS adjudicators were incorporating into L-1B RFEs, Notices of Intent to Deny, and denials. See
Ombudsman Annual Report 2010, p. 46; http://www.dhs.gov/xlibrary/assets/cisomb_2010_annual_report_to_congress.pdf (accessed May 21, 2013).
186
      8 C.F.R. § 103.3(c).
  Matter of Skirball Cultural Center, 25 I&N Dec. 799 (AAO 2012); Matter of Al Wazzan, 25 I&N Dec. 359 (AAO 2010); and Matter of Chawathe, 25 I&N
187

Dec. 369 (AAO 2010).
188
    Information provided by Stakeholders to the Ombudsman during Ombudsman Teleconference, “The USCIS Administrative Appeals Office (AAO)”
(Dec. 19, 2012); http://www.dhs.gov/ombudsman-teleconference-recap-uscis-administrative-appeals-office (accessed May 21, 2013).
189
      Id.
190
      Id.
191
   Information provided by USCIS to the Ombudsman (Dec. 18, 2012). USCIS Webpage, “Administrative Decisions”;
http://www.uscis.gov/portal/site/uscis/menuitem.2540a6fdd667d1d1c2e21e10569391a0/?vgnextoid=0609b8a04e812210VgnVCM100000653919
0aRCRD&vgnextchannel=0609b8a04e812210VgnVCM1000006539190aRCRD (accessed May 21, 2013).
192
    Information provided by the AAO to the Ombudsman (Feb. 7, 2013). USCIS Webpage, “AAO Processing Times” (May 10, 2013);
http://www.uscis.gov/portal/site/uscis/menuitem.5af9bb95919f35e66f614176543f6d1a/?vgnextoid=8ff31eeaf28e6210VgnVCM100000082ca60aR
CRD&vgnextchannel=dfe316685e1e6210VgnVCM100000082ca60aRCRD (accessed May 21, 2013).
193
      Information provided by the AAO to the Ombudsman (Feb. 7, 2013).

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                                                                                 Stakeholders report that USCIS ﬁeld ofﬁces and service
                                                                                 centers typically retain appeals well beyond the 45-day
                                                                                 period allotted to reopen or reconsider the decision.199
                                                                                 This practice impacts the accuracy of processing times
                                                                                 published for the AAO on USCIS’s website.200 Several
                                                                                 case assistance requests received by the Ombudsman in
                                                                                 2012 involved cases pending well beyond these published
                                                                                 processing times.201 Because the appeal process, including
                                                                                 USCIS ﬁeld ofﬁce or service center review and AAO
                                                                                 adjudication, can take years to conclude, stakeholders point
                                                                                 out that circumstances and potential eligibility for beneﬁts
                                                                                 may change signiﬁcantly by the time the AAO issues its
                                                                                 decisions. This wait time is not commercially viable for
                                                                                 employers trying to staff time-sensitive projects or bring
                                                                                 new products to the United States. It also causes prolonged
                                                                                 family separation, as well as humanitarian hardships.


                                                                                 Fee Waivers
                                                                                 Background
Stakeholders are frustrated with delays caused by the transfer
of cases to the AAO.194 When USCIS denies a petition or                          Almost all immigration applications and petitions require
application, a properly ﬁled appeal may be treated as a                          a ﬁling fee. There are approximately 70 USCIS forms with
motion to reopen or reconsider within 45 days of receipt,                        corresponding fees ranging from $85 to more than $985.202
and treated favorably rather than forwarded to the AAO.195                       Not all those seeking immigration beneﬁts can afford these
If the reviewing ofﬁcial declines to take favorable action or                    fees, and the regulations allow discretionary waivers for low-
decides such action is not warranted, the appeal must be                         income individuals ﬁling certain types of applications.203 In
forwarded “promptly” to the AAO.196 The regulations and                          November 2010, USCIS improved the fee waiver process by
USCIS ﬁeld guidance do not make clear what constitutes                           publishing a new form and guidance. Yet, some stakeholders
“promptly” for purposes of forwarding an appeal to the                           continue to experience inconsistent adjudications and
AAO. The AAO cannot observe through USCIS systems when                           repeated rejections of fee waiver requests.
a Form I-290B, Notice of Appeal or Motion, is received in a
ﬁeld ofﬁce;197 how long the appeal remains pending in such
settings; and how and when the appeal and record
of proceeding are forwarded for review.198


194
      See supra note 182.
195
      8 C.F.R. § 103.3(a)(2)(iii).
196
   8 C.F.R. § 103.3(a)(2)(iv); AFM Chapter 10.8(a)(1), “Preparing the Appellate Case Record: Administrative Appeals (AAO) Cases”;
http://www.uscis.gov/ilink/docView/AFM/HTML/AFM/0-0-0-1/0-0-0-1067/0-0-0-1482.html (accessed Mar. 18, 2013). See generally Ombudsman
Recommendation 42, “Motions Matter: Improving the Filing and Review Process for Motions to Reopen or Reconsider” (May 15, 2009);
http://www.dhs.gov/sites/default/files/publications/cisomb/cisomb_recommendation_42_5-15-09.pdf (accessed May 21, 2013).
197
      Information provided by USCIS to the Ombudsman (Feb. 7, 2013).
198
      Information provided by the AAO to the Ombudsman (Feb. 7, 2013).
199
      See supra note 182.
200
      Id.
  One such request involved an appeal of a denied Form I-140, Immigrant Petition for Alien Worker, that was pending at the AAO for 24 months (17
201

months beyond AAO published processing times). In response to the Ombudsman’s inquiry, the AAO requested an additional 60 days to issue a
decision.
202
    8 C.F.R. § 103.7 (2013). The fee for biometrics capture is $85, and the fee for Form I-485, Application to Register for Permanent Residence or Adjust
Status, is $985.
203
   8 C.F.R. § 103.7(c) (2013) allows the possibility of fee waivers for enumerated applications. Waivers apply to 19 of the 70 form types listed at
http://www.uscis.gov/portal/site/uscis/menuitem.eb1d4c2a3e5b9ac89243c6a7543f6d1a/?vgnextoid=db029c7755cb9010VgnVCM10000045f3d6a
1RCRD&vgnextchannel=db029c7755cb9010VgnVCM10000045f3d6a1RCRD (accessed May 21, 2013).

47                                                                                                        Annual Report to Congress – June 2013
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Prior to 2010, stakeholders raised concerns with USCIS                           While use of the form is optional, it simpliﬁes the process
regarding inconsistency and unpredictability in fee waiver                       for applicants by specifying eligibility criteria and necessary
processing. There was no form or clear standards to guide                        documentation.
the fee waiver process. In years past, applicants submitted
                                                                                 The new form and instructions contain three standards for
a sworn statement, but the content and criteria of a
                                                                                 fee waiver eligibility: (1) current receipt of a federal or
qualifying fee waiver were not clear.204 When Haitian TPS
                                                                                 state means-tested beneﬁt; (2) annual household income
was announced early in 2010, the fee waiver issue came
                                                                                 that is at or below 150% of the federal poverty level;208 or
to the fore because, according to advocates, multiple fee
                                                                                 (3) ﬁnancial hardship such as recent unemployment, high
waiver rejections and time consuming legal work to correct
                                                                                 medical expenses and/or other large unexpected expenses.209
them placed applicants at risk of missing the TPS registration
                                                                                 These criteria are listed in the alternative, meaning only
deadline.205
                                                                                 one must be shown to qualify for a fee waiver. Further
USCIS solicited extensive public feedback in developing the                      details on types of documentation are provided in the form’s
2010 fee waiver changes. On November 23, 2010, USCIS                             instructions.
published guidance and a ﬁrst-ever fee waiver request form,
the Form I-912, Request for Fee Waiver.206 USCIS stated:                         Ongoing Concerns

       The fee waiver form reﬂects signiﬁcant input from                         Certain low-income applicants continue to encounter
       stakeholders … USCIS heard concerns that the                              difﬁculties in the fee waiver process. Since late 2012, an
       absence of a standardized form led to confusion                           increasing number of stakeholders have sought assistance
       about the criteria and standards … The new form                           from the Ombudsman on this topic.210 The Ombudsman
       identiﬁes clear requirements for documenting                              received requests for assistance from applicants who
       a fee waiver request … USCIS will use the same                            experienced multiple rejections of fee waivers by a USCIS
       methodology in reviewing all fee waiver requests.207                      lockbox, although upon the second or third submission
                                                                                 the same request was sometimes approved.211 Other cases

204
   USCIS had eight policy memoranda that were superseded by the new fee waiver guideline document, see USCIS Memorandum “Fee Waiver Guidelines
as Established by the Final Rule of the USCIS Fee Schedule; Revisions to Adjudicator’s Field Manual (AFM) Chapter 10.9 AFM Update AD11-26” (Mar.
31, 2011);
http://www.uscis.gov/USCIS/Laws/Memoranda/2011/March/FeeWaiverGuidelines_Established_by_the_Final%20Rule_USCISFeeSchedule.pdf
(accessed May 21, 2013).
205
    See “Designation of Haiti for Temporary Protected Status,” 77 Fed. Reg. 3476 (Jan. 21, 2010). The Director of USCIS promised “generosity of spirit”
in the adjudication of Haitian Fee Waivers, and USCIS invested extensive time in public engagement during the program. Haitian fee waiver approval
rates were over 80 percent by June 2010. See also USCIS Webpage, “Teleconference-Temporary Protected Status for Haiti” (Apr. 3, 2010);
http://www.uscis.gov/portal/site/uscis/menuitem.5af9bb95919f35e66f614176543f6d1a/?vgnextoid=ad3544c04e697210VgnVCM100000082ca60
aRCRD&vgnextchannel=994f81c52aa38210VgnVCM100000082ca60aRCRD (accessed May 21, 2013).
206
    USCIS Webpage, “USCIS Publishes First-Ever Proposed Fee Waiver Form” (Jul. 16, 2010);
http://www.uscis.gov/portal/site/uscis/menuitem.5af9bb95919f35e66f614176543f6d1a/?vgnextoid=0fb5ac6b49cd9210VgnVCM100000082ca60a
RCRD&vgnextchannel=a2dd6d26d17df110VgnVCM1000004718190aRCRD (accessed May 21, 2013). See also USCIS Memorandum “Fee Waiver
Guidelines as Established by the Final Rule of the USCIS Fee Schedule; Revisions to Adjudicator’s Field Manual (AFM) Chapter 10.9 AFM Update
AD11-26” (Mar. 31, 2011);
http://www.uscis.gov/USCIS/Laws/Memoranda/2011/March/FeeWaiverGuidelines_Established_by_the_Final%20Rule_USCISFeeSchedule.pdf
(accessed May 21, 2013).
207
   USCIS Webpage, “USCIS Publishes First-Ever Proposed Fee Waiver Form” (Nov. 22, 2010);
http://www.uscis.gov/portal/site/uscis/menuitem.5af9bb95919f35e66f614176543f6d1a/?vgnextoid=2a1c003cf147c210VgnVCM100000082ca60a
RCRD (accessed May 21, 2013).
208
    In determining whether a household is at or below 150% of the HHS Poverty Guidelines, applicants are instructed to consult Form I-912P, HHS
Poverty Guidelines for Fee Waiver Request; http://www.uscis.gov/files/form/i-912p.pdf (accessed May 21, 2013). The form also contains instructions on
counting household size.
209
      See Instructions for Form I-912, Request for Fee Waiver, p. 2; http://www.uscis.gov/files/form/i-912instr.pdf (accessed May 21, 2013).
210
   The Ombudsman received approximately 50 cases where fee waivers were rejected multiple times for various reasons, including means-tested benefit
documentation. Some of these cases were reopened after a second and third re-submission. Typical fact situations from cases filed with the Ombuds­
man include: a case rejected by a USCIS lockbox stating that no payment was included, but a fee waiver and Form I-912 were enclosed; a case denied
where applicant submitted proof of means-tested benefit (food stamps) and tax return to demonstrate income less than 150% of the HHS Poverty
Guidelines; a fee waiver rejected twice where evidence of means-tested benefit was provided, the identical fee waiver by the applicant’s sister was
accepted on initial submission; and five cases that were initially rejected where applicants showed receipt of means-tested benefits or income less than
150%, but accepted on re-submission.
211
   USCIS lockboxes are receipting centers for USCIS applications that handle fees and route applications. They are run by contractor personnel but have a
limited number of USCIS personnel attached to them to make decisions on fee waivers and other issues. The USCIS lockboxes are currently located in
Phoenix, AZ and Chicago, IL.

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showed evidence of inconsistent application of fee waiver                        Applicants for SIJ status and individuals in removal
standards on documentation of means-tested beneﬁts and                           proceedings experience problems with conﬂicting
income below 150% of the HHS Poverty Guidelines.                                 instructions, inconsistent standards, and repeated rejections
                                                                                 of fee waiver requests at the Texas Service Center (TSC).214
The fee waiver form requests information pertaining to                           The USCIS ﬁling instructions distributed in Immigration
receipt of means-tested beneﬁts by the applicant. In that                        Court advise individuals to ﬁle applications with USCIS for
regard, the form speciﬁes that such programs can be state                        receipting while their court proceedings are pending.215
or federal, but must be based on the applicant’s income                          Respondents in removal can seek a fee waiver from the
and other resources available. Applicants are instructed to                      immigration judge,216 but the fee waiver order must
provide evidence of current receipt of such a beneﬁt.                            subsequently be presented to USCIS along with a copy of
The instructions further state:                                                  the related application or petition.217 Stakeholders report
        This evidence should be in the form of a letter, notice,                 multiple rejections of applications with immigration judge
        and/or other ofﬁcial document(s) containing the                          fee waiver orders. Rejections also occur in cases with
        name of the agency granting you the public beneﬁt.                       extensive evidence of income below the USCIS standard
        The document(s) submitted must show the name                             and receipt of means-tested beneﬁts, and in cases with
        of the recipient of the means-tested beneﬁt and                          court orders granting juveniles dependency as a
        the name of the agency awarding the beneﬁt.212                           supporting document.218

Stakeholders ﬁnd that social service agencies will not issue
individualized letters conﬁrming receipt of a means-tested
                                                                                 Transformation
beneﬁt. Thus, applicants are only able to present with their                     The USCIS Ofﬁce of Transformation Coordination (OTC)
ﬁling a conﬁrmation of an amount received, along with a                          oversees the agency’s broad effort to modernize processes
description of the particular means-tested beneﬁt program.                       and systems, and move from a paper-based application and
                                                                                 adjudication environment to an electronic one.219 OTC
In February 2013, after a series of USCIS trainings for
                                                                                 includes four major divisions: Business Integration,
lockbox employees, USCIS indicated to the Ombudsman
                                                                                 Stakeholder Readiness, Program Management, and Release
that fee waivers were being subjected to closer examination.
                                                                                 Management.220 Through transformation, USCIS estimates
This practice has appeared to result in the rejection of
                                                                                 that it will be able to receive and process six to eight million
documents earlier deemed adequate to show receipt of
                                                                                 beneﬁt requests annually, with easier access to information,
means-tested and placement at or below 150% of the HHS
                                                                                 streamlined adjudications, and enhanced fraud detection.221
Poverty Guidelines.213




212
      USCIS Form, “Instructions for Request for Fee Waiver,” p. 3; http://www.uscis.gov/files/form/i-912instr.pdf (accessed Jun. 13, 2013).
  Information provided by USCIS to the Ombudsman (Feb. 13, 2013 and Apr. 23, 2013). See also U.S. Department of Health and Human Services,
213

“2013 Poverty Guidelines”; http://aspe.hhs.gov/poverty/13poverty.cfm (accessed May 21, 2013).
214
    See DHS Form, “Instructions for Submitting Certain Applications in Immigration Court and For Providing Biometric and Biographic Information to
U.S. Citizenship and Immigration Services” (n.d.); http://www.uscis.gov/files/article/PreOrderInstr.pdf (accessed May 21, 2013).
215
      Id.
216
   See 8 C.F.R. § 1103.7(c) and the Immigration Court Practice Manual, Chapter 3.4(d);
http://www.justice.gov/eoir/vll/OCIJPracManual/Chap%203.pdf (accessed May 21, 2013).
217
      Supra note 214.
218
   Immigration Court rules only require that an individual demonstrate inability to pay to be eligible for a fee waiver, as long as the application type is
one for which USCIS permits fee waivers. See Immigration Court Practice Manual, Chapter 3.4(d);
http://www.justice.gov/eoir/vll/OCIJPracManual/Chap%203.pdf (accessed May 21, 2013); See USCIS Forms, “Instructions for form I-912, Request for
Fee Waiver” p. 4; http://www.uscis.gov/files/form/i-912instr.pdf (accessed May 21, 2013).
219
    Information provided by USCIS to the Ombudsman (May 5, 2013). USCIS intends to allow paper filings for all applications and petitions to
accommodate customers that have difficulties accessing its electronic platform.
220
    USCIS Webpage, “Office of Transformation Coordination” (Oct. 1, 2012);
http://www.uscis.gov/portal/site/uscis/menuitem.eb1d4c2a3e5b9ac89243c6a7543f6d1a/?vgnextoid=d1808ac6f0dbc210VgnVCM100000082ca60a
RCRD&vgnextchannel=d1808ac6f0dbc210VgnVCM100000082ca60aRCRD (accessed May 21, 2013).
221
    USCIS Webpage, “Executive Summary, USCIS Transformation Customer and Advocate Feedback Sessions” (Aug. 30, 2010);
http://www.uscis.gov/USCIS/Outreach/Public%20Engagement/National%20Engagement%20Pages/2010%20Events/September%202010/Executive%
20Summary%20-%20External%20Stakeholder%20Feedback%20Sessions.pdf (accessed May 21, 2013).

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49                                                                                                        Annual Report to Congress – June 2013
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On May 22, 2012, the agency launched “the foundational                     Currently, 15 adjudicators at the TSC and 23 adjudicators
release” of its new system, named USCIS Electronic                         at the VSC are adjudicating applications using ELIS.227 An
Immigration System (USCIS ELIS).222 This release enables                   estimated 679 contractor and government staff outside
individuals seeking immigration beneﬁts and/or their                       of the OTC provide technical and business subject matter
legal representatives to create an account and ﬁle for                     expertise to the program.228 In 2014, USCIS plans to
certain beneﬁts online.223 Customers may now ﬁle in ELIS                   incorporate the following functions into ELIS: “end-to-end
a stand-alone Form I-539, Application to Extend/Change                     paperless processing” for immigrants entering the United
Nonimmigrant Status.224                                                    States; applications for TPS; DACA requests; Provisional
                                                                           Waiver applications; family-based adjustment of status
On March 28, 2013, USCIS elicited feedback from                            petitions and related waiver applications; and the “product
stakeholders about adding Form I-526, Immigrant Petition                   line” associated with Petitions for Alien Entrepreneurs.229
by Alien Entrepreneur, to ELIS.225 The agency has indicated
that ELIS capabilities will be deployed on a four-month cycle,             While Transformation has the potential to improve
with Form I-526 scheduled for release in summer 2013.                      dramatically the experience of those seeking immigration
The next major release is scheduled for the end of September               beneﬁts and services, it has been marked by protracted
2013. OTC is assessing the possibility of reducing the length              delays in implementation, design-defects, and cost
of these cycles to three months, beginning in FY 2014. If                  overruns.230 Transformation was originally expected to
this is feasible, the next release would be in January, instead            be a ﬁve-year program likely to cost between $400 and
of February 2014.226                                                       $500 million.231 Actual expenditures have reached
                                                                           $740 million.232




222
    USCIS Webpage, “USCIS Launches Online Immigration System, USCIS ELIS” (May 22, 2012);
http://www.uscis.gov/portal/site/uscis/menuitem.5af9bb95919f35e66f614176543f6d1a/?vgnextoid=4eaa169ccc477310VgnVCM100000082ca60a
RCRD&vgnextchannel=68439c7755cb9010VgnVCM10000045f3d6a1RCRD (accessed May 21, 2013).
223
   USCIS Webpage, “USCIS ELIS” (May 20, 2013);
http://www.uscis.gov/portal/site/uscis/menuitem.eb1d4c2a3e5b9ac89243c6a7543f6d1a/?vgnextoid=b1659e415d116310VgnVCM100000082ca60
aRCRD&vgnextchannel=b1659e415d116310VgnVCM100000082ca60aRCRD (accessed May 21, 2013).
224
    See supra note 223. See also USCIS Webpage, “The Benefits of USCIS ELIS Fact Sheet” (Apr. 10, 2013);
http://www.uscis.gov/portal/site/uscis/menuitem.5af9bb95919f35e66f614176543f6d1a/?vgnextoid=4b2b74686c238310VgnVCM100000082ca60
aRCRD&vgnextchannel=8a2f6d26d17df110VgnVCM1000004718190aRCRD (accessed May 21, 2013).
225
    Ombudsman staff compiled notes during a USCIS Stakeholder Engagement. See generally USCIS Webpage, “USCIS ELIS and the EB-5 Immigrant
Investor Program” (Mar. 29, 2013);
http://www.uscis.gov/portal/site/uscis/menuitem.5af9bb95919f35e66f614176543f6d1a/?vgnextoid=d3e4f2911188d310VgnVCM100000082ca60
aRCRD&vgnextchannel=e0b081c52aa38210VgnVCM100000082ca60aRCRD (accessed May 21, 2013).
226
      Information provided by USCIS to the Ombudsman (May 9, 2013).
227
      Information provided by USCIS to the Ombudsman (May 10, 2013).
228
      Id.
229
      Id.
230
   DHS Office of the Inspector General (OIG), “USCIS Faces Challenges in Modernizing Information Technology,” OIG-05-41 (Sept. 2005); U.S.
Government Accountability Office (GAO) Report, “Information Technology: Near-Term Effort to Automate Paper-Based Immigration Files Needs
Planning Improvements,” GAO-06-375 (Mar. 31, 2006); GAO Report, “Homeland Security: DHS Enterprise Architecture Continues to Evolve but
Improvements Needed,” GAO-07-564 (May 9, 2007); GAO Report, “USCIS Transformation: Improvements to Performance, Human Capital, and
Information Technology Management Needed as Modernization Proceeds,” GAO-07-1013R (Jul. 17, 2007); GAO Report, “Immigration Benefits:
Consistent Adherence to DHS’s Acquisition Policy Could Help Improve Transformation Program Outcomes,” GAO-12-66 (Nov. 22, 2011).
231
   Aliya Sternstein, “USCIS Mismanaged Immigration Processing Report, Auditors Report,” Nextgov (Nov. 22, 2011);
http://www.nextgov.com/technology-news/2011/11/uscis-mismanaged-immigration-processing-project-auditors-report/50175/ (accessed May 21,
2013); David Perera, “USCIS Transformation Behind Schedule, Over Budget,” FierceGovernmentIT (Nov. 23, 2011);
http://www.fiercegovernmentit.com/story/uscis-transformation-behind-schedule-over-budget/2011-11-23 (accessed May 21, 2013).
232
      Supra note 227.
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                                                                  Since the USCIS ELIS release, the Ombudsman has received
                                                                  few inquiries speciﬁcally related to this system. Some
                                                                  community-based organizations have expressed concern
                                                                  that the individuals they represent may lack regular access to
                                                                  a computer, or feel uncomfortable navigating an electronic
                                                                  system. Others note that the ELIS platform remains
                                                                  English-only. 233

                                                                  Conclusion
                                                                  USCIS strives to provide meaningful customer service
                                                                  through a wide variety of programs and initiatives.234 This
                                                                  year, the agency maintained under six-month processing
                                                                  times for both the Forms I-485 and N-400. In releasing
                                                                  the ﬁrst chapter of its new Policy Manual, USCIS further
                                                                  provided consolidated and updated information on
                                                                  citizenship and naturalization adjudications. With regard
                                                                  to the AAO, USCIS reduced Form I-290B processing times
                                                                  virtually across the board. Stakeholders question the AAO’s
                                                                  authority, independence and timely tracking of appeals at
                                                                  ﬁeld and service center locations. USCIS also worked to
                                                                  streamline the ﬁling process for fee waiver requests in light
                                                                  of stakeholder reports of repeated rejections and inconsistent
                                                                  adjudications. The Ombudsman will continue to monitor
                                                                  USCIS’s customer service efforts and looks forward to
                                                                  promised improvements through Transformation.




233
    USCIS Webpage, “Frequently Asked Questions: e-filing using USCIS ELIS” (May 13, 2013);
http://www.uscis.gov/portal/site/uscis/menuitem.eb1d4c2a3e5b9ac89243c6a7543f6d1a/?vgnextchannel=c5f924fa49716310VgnVCM100000082ca
60aRCRD&vgnextoid=c5f924fa49716310VgnVCM100000082ca60aRCRD (accessed May 21, 2013).
234
   USCIS Webpage, “About Us” (Sept. 12, 2009);
http://www.uscis.gov/portal/site/uscis/menuitem.eb1d4c2a3e5b9ac89243c6a7543f6d1a/?vgnextoid=2af29c7755cb9010VgnVCM10000045f3d6a1
RCRD&vgnextchannel=2af29c7755cb9010VgnVCM10000045f3d6a1RCRD (accessed May 21, 2013).

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Appendix 1: Homeland Security
Act - Section 452 - Citizenship and
Immigration Services Ombudsman
SEC.452.CITIZENSHIP AND IMMIGRATION SERVICES OMBUDSMAN.

(a) IN GENERAL—Within the Department, there shall be a position of Citizenship and Immigration Services Ombudsman
    (in this section referred to as the ‘Ombudsman’). The Ombudsman shall report directly to the Deputy Secretary. The
    Ombudsman shall have a background in customer service as well as immigration law.

(b) FUNCTIONS—It shall be the function of the Ombudsman—
     (1) to assist individuals and employers in resolving problems with the Bureau of Citizenship and Immigration Services;
     (2) to identify areas in which individuals and employers have problems in dealing with the Bureau of Citizenship and
         Immigration Services; and
     (3) to the extent possible, to propose changes in the administrative practices of the Bureau of Citizenship and Immigration
         Services to mitigate problems identiﬁed under paragraph (2).

(c) ANNUAL REPORTS—

     (1) OBJECTIVES—Not later than June 30 of each calendar year, the Ombudsman shall report to the Committee on the
         Judiciary of the House of Representatives and the Senate on the objectives of the Ofﬁce of the Ombudsman for the
         ﬁscal year beginning in such calendar year. Any such report shall contain full and substantive analysis, in addition to
         statistical information, and—
         (A) shall identify the recommendation the Ofﬁce of the Ombudsman has made on improving services and
             responsiveness of the Bureau of Citizenship and Immigration Services;
         (B) shall contain a summary of the most pervasive and serious problems encountered by individuals and employers,
             including a description of the nature of such problems;
         (C) shall contain an inventory of the items described in subparagraphs (A) and (B) for which action has been taken
             and the result of such action;
         (D) shall contain an inventory of the items described in subparagraphs (A) and (B) for which action remains to be
             completed and the period during which each item has remained on such inventory;
         (E) shall contain an inventory of the items described in subparagraphs (A) and (B) for which no action has been
             taken, the period during which each item has remained on such inventory, the reasons for the inaction, and
             shall identify any ofﬁcial of the Bureau of Citizenship and Immigration Services who is responsible for
             such inaction;
         (F) shall contain recommendations for such administrative action as may be appropriate to resolve problems
             encountered by individuals and employers, including problems created by excessive backlogs in the adjudication
             and processing of immigration beneﬁt petitions and applications; and

         (G) shall include such other information as the Ombudsman may deem advisable.




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(2) REPORT TO BE SUBMITTED DIRECTLY—Each report required under this subsection shall be provided directly to the
    committees described in paragraph (1) without any prior comment or amendment from the Secretary, Deputy Secretary,
    Director of the Bureau of Citizenship and Immigration Services, or any other ofﬁcer or employee of the Department or the
    Ofﬁce of Management and Budget.

(d) OTHER RESPONSIBILITIES—The Ombudsman—
   (1) shall monitor the coverage and geographic allocation of local ofﬁces of the Ombudsman;
   (2) shall develop guidance to be distributed to all ofﬁcers and employees of the Bureau of Citizenship and Immigration
       Services outlining the criteria for referral of inquiries to local ofﬁces of the Ombudsman;
   (3) shall ensure that the local telephone number for each local ofﬁce of the Ombudsman is published and available to
       individuals and employers served by the ofﬁce; and
   (4) shall meet regularly with the Director of the Bureau of Citizenship and Immigration Services to identify serious
       service problems and to present recommendations for such administrative action as may appropriate to resolve
       problems encountered by individuals and employers.

(e) PERSONNEL ACTIONS—

   (1) IN GENERAL— The Ombudsman shall have the responsibility and authority—
       (A) To appoint local ombudsmen and make available at least 1 such ombudsman for each State; and
       (B) To evaluate and take personnel actions (including dismissal) with respect to any employee of any local ofﬁce
           of the Ombudsman.

   (2) CONSULTALTION—The Ombudsman may consult with the appropriate supervisory personnel of the Bureau of
       Citizenship and Immigration Services in carrying out the Ombudsman’s responsibilities under this subsection.

(f) RESPONSIBILITIES OF BUREAU OF CITIZENSHIP AND IMMIGRATION SERVICES—The Director of the Bureau of
    Citizenship and Immigration Services shall establish procedures requiring a formal response to all recommendations
    submitted to such director by the Ombudsman within 3 months after submission to such director.

(g) OPERATION OF LOCAL OFFICES­

   (1) IN GENERAL—Each local ombudsman—
       (A) shall report to the Ombudsman or the delegate thereof;
       (B) may consult with the appropriate supervisory personnel of the Bureau of Citizenship and Immigration Services
           regarding the daily operation of the local ofﬁce of such ombudsman;
       (C) shall, at the initial meeting with any individual or employer seeking the assistance of such local ofﬁce, notify such
           individual or employer that the local ofﬁces of the Ombudsman operate independently of any other component
           of the Department and report directly to Congress through the Ombudsman; and
       (D) at the local ombudsman’s discretion, may determine not to disclose to the Bureau of Citizenship and Immigration
           Services contact with, or information provided by, such individual or employer.

(2) MAINTENANCE OF INDEPENDENT COMMUNICATIONS—Each local ofﬁce of the Ombudsman shall maintain a phone,
    facsimile, and other means of electronic communication access, and a post ofﬁce address, that is separate from those
    maintained by the Bureau of Citizenship and Immigration Services, or any component of the Bureau of Citizenship and
    Immigration Services.




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Appendix 2: U.S. Department of
Homeland Security Organizational Chart

                                                                                                                                       EXECUTIVE SECRETARIAT
                                                                               SECRETARY
                                                                                                             CHIEF OF STAFF
                                                                        DEPUTY SECRETARY
                                                                                                                                           MILITARY ADVISOR




                                               NATIONAL
                      SCIENCE &              PROTECTION
 MANAGEMENT                                                                            LEGISLATIVE       GENERAL                 PUBLIC             INSPECTOR
                     TECHNOLOGY              & PROGRAMS             POLICY
 DIRECTORATE                                                                             AFFAIRS         COUNSEL                 AFFAIRS             GENERAL
                     DIRECTORATE             DIRECTORATE




       CHIEF
     FINANCIAL
      OFFICER                                                                                            CITIZENSHIP
                                               INTER-                                  OPERATIONS      & IMMIGRATION              CHIEF
                           HEALTH                             INTELLIGENCE &                                                                      CIVIL RIGHTS &
                                           GOVERNMENTAL                               COORDINATION        SERVICES               PRIVACY
                           AFFAIRS                               ANALYSIS                                                                         CIVIL LIBERTIES
                                              AFFAIRS                                  & PLANNING       OMBUDSMAN                OFFICER




                                                                   DOMESTIC            FEDERAL LAW
                                                                    NUCLEAR           ENFORCEMENT
                                                                   DETECTION             TRAINING
                                                                     OFFICE               CENTER




                                                                               FEDERAL             U.S.
            U.S. CUSTOMS        U.S. CITIZENSHIP                             EMERGENCY         IMMIGRATION                             TRANSPORTATION
                                                      U.S. COAST                                                   U.S. SECRET
              & BORDER          & IMMIGRATION                                MANAGEMENT         & CUSTOMS                                 SECURITY
                                                        GUARD                                                        SERVICE
             PROTECTION            SERVICES                                    AGENCY          ENFORCEMENT                             ADMINISTRATION




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Appendix 3: USCIS Action Regarding
Ombudsman Recommendations
The following chart lists the Ombudsman recommendations issued over the past two reporting periods and denotes USCIS
action related to each recommendation. USCIS’s response and action include:

Implemented. USCIS has accepted and implemented the Ombudsman’s recommendation.
Active. USCIS has accepted and is taking action to adopt the Ombudsman’s recommendation.
Declined. USCIS has declined to accept the Ombudsman’s recommendation.

                           RECOMMENDATION                             DATE       IMPLEMENTED         ACTIVE          DECLINED

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                                                                                   :DLWLQJIRU86&,6UHVSRQVH
     5HVLGHQFHIRU6SRXVHVDQG&KLOGUHQ


$GMXGLFDWLRQRI$SSOLFDWLRQVDQG3HWLWLRQV8QGHU,1$
                                                                                                                 X
     6HFWLRQ O


(QVXULQJD)DLUDQG(IIHFWLYH$V\OXP3URFHVVIRU
     8QDFFRPSDQLHG&KLOGUHQ
                                                                               X

5HFRPPHQGDWLRQV5HJDUGLQJ86&,6·V5ROHLQWKH3HWLWLRQ
     ,QIRUPDWLRQ0DQDJHPHQW6HUYLFH
                                                                                                                 X

86&,66HUYLFH5HTXHVWV5HFRPPHQGDWLRQVWR,PSURYHWKH
     4XDOLW\RI5HVSRQVHVWR,QTXLULHVIURP,QGLYLGXDOV                                        X
     DQG(PSOR\HUV

5HFRPPHQGDWLRQVWR,PSURYHWKH4XDOLW\LQ([WUDRUGLQDU\
     $ELOLW\DQG2WKHU(PSOR\PHQW%DVHG$GMXGLFDWLRQV                                                            X
(PSOR\PHQW$XWKRUL]DWLRQIRU$V\OXP$SSOLFDQWV
     5HFRPPHQGDWLRQVWR,PSURYH&RRUGLQDWLRQ                                                   X
     DQG&RPPXQLFDWLRQ

(PSOR\PHQW$XWKRUL]DWLRQ'RFXPHQWV0HHWLQJWKH'D\
     0DQGDWHDQG0LQLPL]LQJWKH,PSDFWRI'HOD\RQ,QGLYLGXDOV                                  X
     DQG(PSOR\HUV

'HIHUUHG$FWLRQ5HFRPPHQGDWLRQVWR,PSURYH
     7UDQVSDUHQF\DQG&RQVLVWHQF\LQWKH86&,63URFHVV                                                           X

6SHFLDO,PPLJUDQW-XYHQLOH$GMXGLFDWLRQV$Q2SSRUWXQLW\
     IRU$GRSWLRQRI%HVW3UDFWLFHV
                                                                                                 X

&XVWRPHU&RPSODLQWV$7RROIRU4XDOLW\&XVWRPHU6HUYLFH
                                                                                                 X
     DQG$FFRXQWDELOLW\




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                  A         Homeland
                  V         Security


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